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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,                                        Civil Action No.

                               Plaintiffs,
               v.
                                                                DECLARATION OF
INTERNATIONAL BROTHERHOOD OF                              JEFFREY CARLSON IN SUPPORT
TEAMSTERS; INTERNATIONAL                                     OF PLAINTIFFS’ MOTION
BROTHERHOOD OF TEAMSTERS, AIRLINE                        FOR A PRELIMINARY INJUNCTION
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,


                               Defendants.


       I, JEFFREY CARLSON, declare and state as follows:

       1.      I am employed by Atlas Air Worldwide Holdings (“AAWW”) as Senior Vice

President Flight Operations. I have personal knowledge of the facts set forth below and if called

as a witness in this matter, I could and would competently testify thereto.

A.     Background Regarding Work Experience

       2.      I have served in my current position since October 1, 2008. I am responsible for

all of flight operations, including hiring, training, operations control, flight dispatch, and crew

scheduling at both Atlas Air, Inc. and Polar Air Cargo Worldwide, Inc. (“Polar”) (collectively,

“Atlas” or the “Company”), as well as Southern Air, Inc. (“Southern”). I previously served as

Vice President of Flight Operations at Spirit Airlines and Chief Pilot and Vice President of Flight

Operations at Northwest Airlines. I have more than 15,000 hours of flying time on numerous

aircraft, including the Boeing 747-400. Among my achievements at Northwest, I partnered with

Boeing to launch the Boeing 747-400 training program, which remains the industry standard



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today. I have a bachelor’s degree in aeronautical science from Embry Riddle University and am

a recipient of the university’s Distinguished Alumni Achievement Award.

B.     The Company

       3.      The Company’s two brands, Atlas and Polar, are commercial air carriers,

headquartered in Purchase, New York, with domestic and international operations. Both are

“common carriers by air” as defined in the Federal Aviation Act of 1958, and each is a “carrier”

as defined by the Railway Labor Act (the “RLA”). Atlas and Polar are owned by the same

parent corporation, AAWW. AAWW also owns two other entities, Southern and Titan Aviation

Holdings. Atlas is a leading provider of outsourced aircraft and aviation operating services,

functioning primarily in the business of transporting its customers’ cargo, including for DHL and

Amazon. Atlas also performs chartered passenger operations, primarily for the United States

military, for which Atlas provides more lift than any other carrier.

       4.      The majority of Atlas’ customer cargo transportation services are provided on a

contracted “ACMI” basis—Atlas provides the Aircraft, Crew, Maintenance, and Insurance for

the transportation of time-sensitive products and equipment for customers worldwide, such as

express and e-commerce products, technology and consumer goods, fresh fruit, vegetables, fish,

flowers, and other perishables, drilling and excavation equipment, infrastructure equipment,

pharmaceuticals, and livestock. Atlas’ chartered cargo and passenger services, which are

provided on a one-time, ad hoc or an extensive, longer-term charter basis, represent

approximately one third of its business. Half of Atlas’ charter business is commercial, and

includes, for instance, transport of equipment for concert tours, perishable goods, construction

equipment, or other high-value goods. Atlas also has been the largest provider of commercial

airlift in the wide-body cargo segment for the United States Air Mobility Command for the last




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seven years, which airlift and military passenger service constitute the other half of Atlas’ charter

business. Atlas also specializes in mobilizing and supporting humanitarian efforts at a moment’s

notice and in helping to transport college and professional teams to and from major sporting

events.

          5.   Since Atlas entered into the current collective bargaining agreement (“CBA”)

with its pilots in 2011, the Company’s operations have grown significantly in both scale and

scope. Historically, the core of Atlas’ business was focused on providing long-haul,

intercontinental flights using B-747 aircraft for a variety of commercial customers and the U.S.

military. Atlas today operates both B-747 and B-767 aircraft types serving multiple markets in

the passenger, express, and e-commerce space and operates long-haul wide-body intercontinental

flights for customers such as Amazon, DHL, Qantas, Cathay Pacific, Panalpina, Nippon Cargo

Airlines, Asiana Cargo, and Hong Kong Air Cargo Carrier Limited.

          6.   Since 2011, Atlas also has developed a North American domestic market of

highly-scheduled time-definite network flying centered on B-767 aircraft, which serves some of

Atlas’ most significant customers in their hub and point to point operations—including, DHL, an

international transportation company that moves cargo (and provides a variety of other services),

Amazon, one of the largest consumer products retailers and shippers in the world, UPS, and

FedEx. In 2016, Atlas began flying B-767-300 freighter aircraft for Amazon under the livery

“Prime Air,” to ensure timely delivery of Amazon’s packages. The business with Amazon is

scheduled to grow significantly—from seven freighters currently to 20 by the end of 2018.

Currently, over 70% of Atlas’ aircraft serve the express and e-commerce markets. As a result of

the rapid growth of Atlas’ operations in support of its e-commerce and express package

customers, Atlas now operates—broadly speaking—two different “networks”: (1) Atlas’




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traditional long-haul, intercontinental network, and (2) a shorter-haul domestic network centered

around Atlas’ B-767s, serving Amazon and DHL’s point-to-point and hub operations, which now

accounts for approximately 40% of Atlas’ flights, compared to less than 20% a decade ago.

       7.      Atlas must be, and always has been, flexible and responsive to its varied

customers’ ever-changing requirements. Atlas maintains its expansive global network due to the

diverse nature of Atlas’ customers and their unique air transportation needs. Over the last 12

months, Atlas operated flights to 427 different airports in over 100 different countries.

       8.      As a result of this business model, Atlas cannot feasibly have reserve pilot crews

stationed in every location. If a pilot cannot fly his scheduled flight for any reason, the nearest

replacement pilot may not be readily available, and in some instances, may be a continent away.

Often, Atlas is required to transport the replacement pilot to the departure location via

commercial or charter transportation. In some instances, Atlas needs to fly in a relief pilot from

another part of the world, who must then rest, and then complete the originally scheduled flight,

several days later, causing substantial disruption (and potentially the spoilage of perishable

cargo) for Atlas’ customers.

       9.      Atlas’ customers depend on cargo arriving at the day, time, and place requested.

This is particularly true for Atlas’ express and e-commerce customers, who require time-definite,

highly reliable scheduled services to meet the expectations of their own customers. The time-

definite nature of these customers’ operations rely on Atlas’ flights arriving on-time, either at

their final destination airport, or to these customers’ “hubs” so that packages onboard those

flights can be quickly sorted and re-loaded onto another flight transporting them to their final

destination. Thus, any significant disruption in Atlas’ operations, such as those being caused by




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the Atlas pilots at the direction of the Union (as defined below), can cause an exponential

domino effect that impacts a sequence of other flights and customers and end-use customers.

       10.     September through December constitutes the peak season for Atlas and its

customers. During these four months, imports, new product releases, and holiday deliveries

significantly increase the amount, volume, and time-sensitive nature of Atlas’ cargo flying. This

is particularly true for 2017 as Atlas continues to grow in the ever-increasing express and e-

commerce markets, where customers expect to receive their orders as quickly as possible.

C.     The Union

       11.     International Brotherhood of Teamsters (“IBT”) is an unincorporated labor

organization, which, along with International Brotherhood of Teamsters, Airline Division (“IBT

Airline Division”), has its principal offices in Washington, D.C. Airline Professionals

Association of the International Brotherhood of Teamsters, Local Union No. 1224 (“Local

1224”) is an unincorporated labor organization, with its principal offices in Wilmington, Ohio

(IBT, IBT Airline Division, and Local 1224 are collectively referred to herein as the “Union”).

IBT is the certified collective bargaining representative of the Atlas pilots under the RLA. Local

1224 is the local collective bargaining agent designated by the IBT through IBT Airline Division

to represent the Atlas pilots. IBT and Local 1224 also represent pilots at ABX Air, another cargo

carrier, which like Atlas, provides air cargo services for both DHL and Amazon.

       12.     Local 1224, which manages day-to-day pilot labor relations with Atlas, is

governed by an Executive Board that consists of a President, Vice President, Secretary-

Treasurer, Recording Secretary, and three Trustees. Local 1224 has an Atlas Executive Council

(“ExCo”). The Atlas ExCo Chairman, Captain Robert Kirchner, serves as the leader of the Atlas




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pilot group and represents that group on the Local 1224 Executive Board. The Atlas ExCo

Communications Chairman is Captain Mike Griffith.

D.    The Parties’ Collective Bargaining Negotiations

       13.    Atlas and the Union are parties to a CBA (the “Atlas CBA”) governing the rates

of pay, rules, and working conditions of the Atlas pilots. The Atlas CBA became effective on

September 8, 2011, and became amendable on September 8, 2016. Pursuant to Section 34 of the

Atlas CBA, which allows for an early commencement of negotiations for an amended CBA, the

parties began direct negotiations in January 2016. The Union also sent Atlas a Section 6 notice

on February 16, 2016.

       14.    On January 19, 2016, AAWW announced its agreement to acquire Southern Air

Holdings, Inc., the corporate parent of Worldwide Air Logistics Group, Inc., which in turn

owned two subsidiary air carriers: Southern and Florida West International Airways, Inc.

(“Florida West”). The acquisition was completed on April 7, 2016, and Atlas and Southern are

in the process of being integrated. Florida West was wound down following the acquisition.

The crewmembers of Southern are also represented by the Union. Southern and the Union are

parties to a CBA (the “Southern CBA”) governing the rates of pay, rules, and working conditions

of the Southern pilots. The Southern CBA became effective on November 6, 2012, and became

amendable on November 6, 2016. The Union sent Southern a Section 6 notice in February 2016.

       15.    After the merger was announced, Atlas and Southern informed the Union that the

carriers wished to bargain for a joint CBA to apply to the post-merger combined pilot group,

rather than amending the two separate CBAs. Atlas and the Union eventually engaged in

discussions regarding the process the parties would use to formulate the post-merger joint CBA.

After months of negotiations, in June 2017, Atlas, the IBT Airline Division, and Local 1224




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reached an agreement on a Negotiation Process to Facilitate Completion of Collective

Bargaining Negotiations (the “Protocol Agreement”), which, among other things, provides for

collective bargaining negotiations for a joint CBA. These negotiations for a joint CBA began on

July 6, 2017, and have continued to the present time.

E.     The Union And Its Members Have Engaged In Concerted Activity To Pressure Atlas In
Collective Bargaining.

       16.     Since February 2016, coinciding with the Union’s Section 6 notices to Atlas and

Southern, and soon after the announcement of the Southern acquisition, Atlas pilots began

engaging in concerted slowdown activities. After this activity began, Atlas requested the Union

take effective action to stop the slowdown. But the Union has refused, and continues to refuse,

to stop the slowdown, and has in fact threatened to intensify the already significant slowdown as

the busy holiday season approaches. Atlas pilots’ slowdown conduct includes:

       •       more frequently calling off sick on the day of scheduled flying,

       •       more frequently calling off flights because of fatigue,

       •       refusing to volunteer for or accept open time (i.e., overtime) flying,

       •       delaying flight departures by “Blocking Out On Time,”

       •       writing up unusually high numbers of maintenance issues on aircraft, and

       •       refusing to depart due to rejected crew meals.

The Union has designed these concerted activities to cause maximum disruption to Atlas’

operation and thereby exert pressure on Atlas to capitulate in collective bargaining.

       a.      Pilots Are Calling In Sick On Short Notice Significantly More Often.

       17.     Pilots’ sick calls on the same day as their next scheduled duty period tend to have

a larger adverse impact on the operation than sick calls with longer advanced notice because of

the reduced time for Atlas to assign an available substitute pilot. Accordingly, sick calls at crew



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wakeup (i.e., when the crew is woken for duty, generally three hours before a flight) place Atlas

in a highly difficult position. Short-notice sick calls also reduce the number of pilots available

for use on other assignments, and can lead to significant delays, particularly when the nearest

replacement pilot may be a continent away. While Atlas fully supports pilots calling in sick

when they are sick and do not believe they are safe to fly, the sick call system is subject to

abuse—and it is clear that the abuse here is concerted and coming at the Union’s direction.

       18.     The number and circumstances of short-notice sick calls in recent months, and the

adverse impact they have imposed on the operation, are clearly traceable to a change in the status

quo behavior that is strategically designed to cause maximum disruption. By way of example:

       •       On June 7, 2017, three crewmembers consecutively called out sick for a single
       DHL flight from Cincinnati—DHL’s hub of operations in North America—to Narita,
       Japan, causing a rolling delay of nearly nine hours. A First Officer initially called out
       sick, forcing Atlas to find a replacement and adjust the departure time. Then, the
       replacement pilot called out sick, forcing Atlas to find a second replacement and further
       adjust the departure time. Finally, the second replacement pilot called out sick, forcing
       Atlas to find a third replacement and again adjust the departure time. These consecutive
       sick calls also impacted the return flight from Narita to Cincinnati, which was a major
       transport of packages from Japan that experienced a corresponding delay of nearly nine
       hours due to the three sick calls in Cincinnati. As a result, all of the packages missed the
       sort deadline into Cincinnati and could not be delivered until the day after they were
       promised by DHL to its customers.

       •       The same day, Atlas experienced another rolling delay of over 16 hours due to
       multiple sick calls on a DHL flight from Los Angeles to Incheon Airport in South Korea,
       with subsequent/carry-on delays until June 9, 2017 (two days later). A First Officer
       called out sick, and no pilots accepted a call for open time volunteers put out by Atlas.
       Then another First Officer also assigned to the flight took bereavement leave. (While
       Atlas does not doubt this leave was legitimate, the pilots’ slowdown actions leave Atlas
       with no coverage for legitimate pilot absences.) Accordingly, Atlas placed a reserve
       Captain on the trip. Atlas then determined it could improve its departure time with
       another Captain and assigned the reserve Captain to another flight. Then another First
       Officer from the original crew also called out sick at his scheduled wakeup time for his
       flight. The flight finally departed 16 hours late with a reduced crew and without a single
       member of the originally-scheduled crew on the flight. The subsequent flight for DHL
       from South Korea to Shanghai, China took a more than 12-hour delay as a result of the
       delay in Los Angeles. In order to reduce the delay of the next leg from Shanghai to
       Cincinnati, Atlas flew another aircraft on the route instead of the delayed aircraft.



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Therefore, the cargo coming from Shanghai was not flown on the aircraft to Cincinnati.
In addition, the replacement aircraft was significantly smaller than the delayed aircraft,
and therefore less cargo was transported to Cincinnati than planned.

•       On July 16, 2017, a B-767 flight from Houston to Norfolk Naval Station in
Norfolk, Virginia to pick up 213 military service members was delayed over 36 hours as
a result of the Captain calling out sick at his scheduled wakeup time and Atlas being
unable to assign a rested, available pilot who could get to Houston, which is not a crew
base for B-767 aircraft. As a result, the Norfolk service members were picked up late and
suffered a delayed arrival into Kuwait. Atlas spent $44,000 to house and feed the
distressed passengers.

•        On July 21, 2017, a specialized aircraft transporting aircraft parts for Boeing from
JFK in New York, New York to Charleston was delayed approximately 15 hours as a
result of a sick call by the Captain at the absolute latest possible time (i.e., departure
time), making it impossible for Atlas to operate on time. The lengthy delay was due, in
part, to Atlas not being able to assign a replacement Captain as a result of six additional
pilot sick calls and six pilot fatigue calls over the previous day and overnight. These calls
caused a compounded domino effect of dozens and dozens of crew openings that Atlas
was required to reassign.

•       On the overnight shift starting on August 26, 2017, Atlas experienced a number of
significant delays as a result of multiple sick calls. The following four short-notice sick
call events occurred over the course of less than 12 hours:

       o       For a DHL flight filled with express freight from Hong Kong to
               Anchorage, a crew member called in sick at his scheduled wakeup time.
               As a result, a crew member had to be removed from another DHL flight
               and assigned to cover for the sick crew member, resulting in an 11.5-hour
               delay for that second flight from Hong Kong to Anchorage. Subsequently,
               the delayed aircraft ferried to Dover Air Force Base in Dover, Delaware to
               transport needed supplies for the U.S. military to the Middle East.
               Because of the delay caused by the sick call, the military flight was
               delayed over six hours.

       o       Another flight full of general cargo from Pudong International Airport in
               Shanghai to Anchorage was delayed 11 hours and 15 minutes due to a sick
               call by a pilot at his scheduled wakeup time and would continue to run late
               for three days as a result.

       o       Another flight for Nippon Cargo Airlines from Anchorage to Narita was
               delayed nearly 14 hours due to a pilot sick call. No pilots were available
               at the base because of other crew call outs.

       o       A flight for the U.S. military transporting needed supplies from Hill Air
               Force Base near Ogden, Utah to Hahn, Germany (and then going to Qatar)
               was delayed approximately 20 hours due to a sick call by a First Officer.



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       •        On September 16, 2017, a First Officer called in sick downline for a DHL express
       flight from Leipzig/Halle Airport in Germany to Incheon Airport in South Korea
       approximately 2.5 hours before crew wakeup. A crew member was removed from his
       scheduled flying on another flight in order to reduce the delay, but the flight still took a
       delay of nine hours and 19 minutes.

       19.     This abuse of sick leave represents the continuation of a campaign instituted by

the Union last December in an effort to disrupt Atlas’ operation during a peak holiday flying

season. Starting on or around December 16, 2016, and continuing until December 24, 2016,

Atlas experienced a dramatic increase in the proportion of B-767 pilots using sick days. The B-

767 fleet is the second largest at Atlas and is used for much of the Company’s DHL flying, all of

its flying for Amazon, and for military transport as well.

       20.     The conclusion that this 2016 holiday-time sick-out was not random is supported

by a variety of Union actions warning Amazon and the public of potential delivery disruptions

for purchases made at the online retailer during the peak holiday shopping season. Atlas pilots

picketed Amazon’s headquarters on December 7, 2016, carrying placards reading “Can Amazon

Deliver?” The Union also ran online advertisements in December targeted at Amazon

customers, including a link to the website http://canamazondeliver.com, which warned holiday

shoppers that “Amazon customers may want to think twice before ordering last-minute

deliveries” because “there may not be enough pilots to deliver for Amazon around the holidays.”

A December 18, 2016 segment on ABC’s Good Morning America covered the online advertising

campaign paid for by the Union and reported that “millions of Amazon customers who rely on

the company’s two day Prime delivery, getting a startling warning of what some claim is a

possible holiday doomsday scenario,” and included an interview with Captain Griffith who noted

that Atlas did not have “an industry standard [pilot] contract.” The segment, commencing

around 7:15 a.m., is available at https://archive.org/details/KGO_20161218_150000_




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Good_Morning_America_Weekend_Edition/start/960/end/1020. (Amazon Webpage, infra

Paragraph 126.)

       21.     While this sickout ended once the 2016 holiday period ended, the threat of a

further sickout during the 2017 holidays is evidenced in the Union’s missive that “We are getting

into the busy season during the second half of the year and it is now more important than ever to

stay strong with your SOLIDARITY. YOU must not only honor the CBA every day and on

every flight, but also hold management accountable.” Even more recently, Captain Griffith

issued a message warning that if Atlas did not put “real money” into the CBA during upcoming

contract negotiations, “as a pilot crew member, I can honestly say this will not be good for their

fourth quarter [2017] . . . .” (June 23, 2017 Chairman’s Update & August 31, 2017 ATAM, infra

Paragraphs 119 & 142.)

       b.      Pilots Are Calling In Fatigued Significantly More Often.

       22.     Since October 2010, pursuant to Atlas’ Fatigue Risk Management Plan required

by the Federal Aviation Administration (“FAA”), each Atlas pilot has been obligated to advise

the Company if, in his honest opinion, safety will be compromised due to fatigue if he flies as

scheduled. Like sick calls, fatigue calls are subject to abuse and can cause great harm to Atlas.

Fatigue is of course a serious matter, and Atlas fully supports pilots calling in fatigued when they

honestly are not safe to fly. But pilots are now using their right to call in fatigued as a weapon in

the Union’s campaign against Atlas.

       23.     The number and circumstances of fatigue calls, particularly those after lengthy

rest periods, in recent months are contrary to the status quo and represent a calculated campaign

to cause long delays and maximum harm. By way of example:

       •      On April 23-25, 2017, crew actions (including multiple fatigue calls and
       maintenance write-ups) caused an aircraft flying approximately 120 service members
       home to their families in the United States to experience three consecutive delays of over


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60 hours on each leg of a trip from Kuwait to Germany to New Hampshire to Texas. The
primary fatigue call was made, after the pilot had received 14.5 hours of rest, at Hahn
Airport in Germany, where the aircraft stopped for cleaning and catering and a crew
change that should have taken approximately two hours. Instead, the aircraft took a more
than 14-hour delay as a result of the fatigue call. Atlas spent $56,000 to house and feed
the distressed passengers.

•       On April 24, 2017, the Captain who caused the initial delay from Kuwait to
Germany on April 23 was removed from that route and provided with a commercial
business class flight from Kuwait to Germany, with the intent that he would have a restful
flight and fly another mission for the military. He was assigned to a trip from Germany
to Kuwait to Al Dhafra Air Base in the United Arab Emirates, where he would pick up
138 military service members to bring them back to their families in Baltimore. The
Captain, who had previously received 11.5 hours of rest, placed multiple fatigue calls in
Germany, causing a 17.5-hour delay for the flight from Germany to Kuwait. The delay
then caused a compound delay of approximately eight hours for the flight from Kuwait to
Al Dhafra. The 138 military service members thus waited for their flight home for an
additional 25.5 hours because of this Captain’s multiple fatigue calls.

•       On June 22, 2017, a First Officer, who had previously received more than 17
hours of rest, waited to call out fatigued until his 10 hours of additional rest would push
the flight’s delayed departure time into the airport’s curfew period. The timing of this
fatigue call caused a flight carrying cargo for Nippon Cargo Airlines from Narita, Japan
to Anchorage to incur a nearly 16-hour delay.

•        On July 1, 2017, a Captain, who had previously received more than 25 hours of
rest, called out fatigued on a flight carrying 340 military members from Pope Field in
North Carolina to Hahn, Germany delaying the flight for over nine hours. All 340
military members were through passengers, scheduled to travel on from Hahn to Kuwait.
As a result of the fatigue call, their second flight was delayed over nine hours as well.

•       On July 30, 2017, a flight carrying military supplies from Dover Air Force Base
in Dover, Delaware to Hahn was delayed approximately 13 hours due to two sequential
fatigue calls by the Captain. The aircraft flew from Miami to Dover after maintenance
and was expected to be on the ground in Dover just long enough to be loaded. But the
Captain, after receiving over 54 hours of rest, called in fatigued, and then called in
fatigued a second time after receiving his additional rest, such that he cumulatively
received approximately 67 hours of rest. Atlas was unable to assign a replacement
Captain in order to expedite departure.

•       On August 1, 2017, a flight carrying cargo for Qantas experienced disruptions on
two separate legs due to a fatigue call after a long rest. The Captain flew from Narita to
Honolulu, and then had about 50 hours of rest. He then flew from Honolulu to Sydney,
Australia and had about 20 hours of rest. He then called in fatigued for his next flight
from Sydney to Bangkok, Thailand. Fatigue calls in Sydney are especially challenging
for Atlas because it generally takes a day and a half to two days to obtain a replacement
crewmember since the crewmember must first fly all the way to Sydney and then get the


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required pre-duty rest. Due to Sydney curfew rules regulating when Atlas may fly in and
out of the airport, and Atlas’ inability to replace the Captain, the Captain was given over
15 hours of additional rest before finally flying the Sydney to Bangkok leg, causing a
delay of approximately 14.5 hours. As a result of this delay, the crew was required to rest
in Bangkok, and, as a result, the second leg from Bangkok to Shanghai was also delayed
by over six hours.

•       On August 11, 2017, after receiving nearly 28.5 hours of rest, a First Officer
called out fatigued for a flight from San Juan to Campbell Army Airfield in Hopkinsville,
Kentucky, carrying military service members. Accordingly, the flight flew with a
reduced crew. Due to that reduced crew size, FAA regulations required the crew to rest
in between the first and second legs of the trip, causing an approximately 11-hour delay
to the second leg of the trip, which was to Seattle for significant deferred maintenance.

•       On August 25, 2017, the Captain who caused multiple lengthy delays for the
military in April 2017 (as described above) caused yet another delay by calling in
fatigued and other actions. He was supposed to operate a flight from Greenville-
Spartanburg International Airport in Greer, South Carolina to Biggs Army Airfield in El
Paso, Texas to position an aircraft for a military mission (that he was not flying). Once
the aircraft was at Biggs, another pilot would fly 256 members of the military to transport
them into Kuwait (via Portsmouth, New Hampshire and Hahn). The Captain arrived late
to Greenville-Spartanburg for a 5 a.m. departure, and so the airport manager told him that
he must have his engines up and running by 5:15 a.m. because the airfield would be
closing. The First Officer had already performed the pre-flight check, but the Captain
insisted that they re-do it again together, even though nothing so requires. As a result, by
the time the Captain was in his seat, the airport had closed. Since the airport was re-
opening at 9 a.m., the Captain and First Officer were told to remain on board, at which
point the Captain called out fatigued, despite the fact that he previously had 13 hours of
rest. As a result, the flight was delayed 16 hours, and a return flight of the aircraft
transporting an additional 230 service members home to their families from Kuwait was
delayed 12 hours.

•        On August 27, 2017, a flight carrying cargo from Sydney to Shanghai was
delayed 18.5 hours due to crew actions. The crew was standing by while maintenance
was repairing the aircraft. When the aircraft was fully loaded and ready, the crew said it
would need time to do its checks. Approximately 40 minutes later, the crew, which had
previously received over 40 hours of rest, called fatigued while they were within their
legal duty day. Indeed, had they operated the flight, they still would have had five hours
of legal duty time left in their day. After 12.5 hours of rest, the crew was informed of a
new departure time outside of the Sydney curfew, but they said they were still fatigued,
resulting in an additional six-hour delay, causing Atlas’ schedule for this customer to run
late for several days thereafter. The customer requested that the crew no longer operate
flights for the customer, complaining that “[t]he lack of customer focus provided by this
operating crew to the [customer] Freight operation is exasperating and more than
disappointing.” Another manager at the customer called the delay “extremely
disappointing,” noting that “there are many questions being asked here in relation to how
this could have occurred.” Days later, the customer complained that this incident and


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several other fatigue delays in the same week “result[ed] in one of our lines of flying now
being delayed by 47 hours with no ability to operate on time until mid-next week” (i.e., a
week and a half later).

•        On September 1 and 2, 2017, three pilots called in fatigued for their Hong Kong-
Delhi-Hong Kong turn. On September 1, a First Officer, who had previously received
over 17 hours of rest, called in fatigued for the Hong Kong-Delhi-Hong Kong flight,
causing a 7-hour and 35-minute delay in the initial leg of that flight. The next day,
Captain Griffith, who had previously received 36.5 hours of rest, called in fatigued for
that day’s Hong Kong-Delhi-Hong Kong flight. Captain Griffith refused to accept an
additional 10 hours of rest that would have allowed Atlas to set a new departure time, in
accordance with the Company-Union agreed standard operating procedure, insisting
instead that he would call in when fit to fly, leaving the flight schedule in flux.
Ultimately, Atlas found a replacement Captain and scheduled the flight for a two-hour
delay. After both of the First Officers scheduled for the flight were notified of that two-
hour delay, one of the flight’s First Officers, who had previously received 36.5 hours of
rest, called in fatigued. As a result, Atlas operated the flight with one less First Officer,
which limited the crew’s legal duty time and required an unscheduled crew rest in Delhi
before the Delhi-Hong Kong leg could fly.

•      On September 2, 2017, a Captain, who had previously received more than 10
hours of rest following a hotel reserve assignment, called in fatigued at 2:10 a.m. for a
6:30 a.m. departure, which caused an 8-hour and 40-minute delay of a Boeing flight from
Paine Field in Washington State to Chubu Centrair International Airport in Japan.

•       On September 9, 2017, a First Officer, who had previously received nearly 45
hours of rest, called in fatigued at his scheduled wakeup time, delaying a flight from
Kuwait to Hong Kong by eight hours. The aircraft was scheduled to fly from Hong Kong
to Cincinnati transporting express cargo. As a result of the pilot’s fatigue call, the
aircraft, which was already delayed due to maintenance and other issues, missed the
customer’s sort in Cincinnati, and the customer experienced a full service failure. Had
the pilot not called in fatigued at his scheduled wakeup time, even with the maintenance
and other delays, the aircraft would have arrived in Cincinnati in time for the customer’s
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the pilot not called in fatigued at his scheduled wakeup time, even with the maintenance
and other delays, the aircraft would have arrived in Cincinnati in time for the customer’s
sort.




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          24.    The Union has encouraged pilots to call out fatigued, even if they are not in fact

fatigued, as one pilot expressly told Atlas on July 22, 2017. On that date, after a First Officer

called out fatigued for a flight, Atlas’ crew scheduling department called another First Officer

who was scheduled to ride as a passenger on that flight to see if he would be able to pilot it

instead. At first, the pilot agreed to fly the route, but later called back and said: “I was talking to

the union and they wanted me to call and tell you that I needed 10 hours of pre-duty rest prior to

my schedule change per the contract, and just to check if you guys are aware of that.” Sections

12.E.1. and 12.F.3. of the CBA, however, do not require ten hours of rest and permit pilots to

choose to accept less than 10 hours of rest. As a result of this fatigue call, Atlas ultimately was

forced to assign another pilot to fly the route and took a delay as a result. I have attached as

Exhibit 1 a true and correct copy of a transcript of an audio recording of a telephone call between

a pilot and an Atlas crew scheduler that occurred on July 22, 20171; and as Exhibit 2 a true and

correct copy of excerpts of the Collective Bargaining Agreement between Atlas Air, Inc. and

International Brotherhood of Teamsters, Airline Division, dated September 8, 2011.

          c.     Pilots Are Refusing To Volunteer For Or Accept Open Time Flying.

          25.    Atlas’ staffing model and related staffing plan is built to accommodate forecasted

flying so that nearly all of the Company’s flight assignments are awarded each month through a

pilot bid system based on seniority. Atlas also has a substantial complement of reserve pilots—

pilots who do not have a scheduled line of flying, but are required to be available on their

assigned reserve days—at key operational locations in anticipation of coverage needs. In

addition to these regularly-awarded trips and usage of reserves, however, Atlas also offers a

number of “open time” flights each month that, for one reason or another, require replacement


1
    Certain exhibits have been redacted to protect personal/third-party information.


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crews. Open time flying opportunities for pilots can arise for several reasons, such as to cover

for pilots who call in sick or fatigued, to crew a flight requested by a customer on short notice, or

to recover from operational disruptions due to bad weather or mechanical problems. Open time

volunteers are regularly sought in cases where reserve pilots have been deployed, are reserved

for other duty, or are not able to get to the required location in a timely fashion. Pilots may

volunteer, and have historically volunteered, for these open time opportunities, which are

awarded on a seniority basis.

       26.     Individual pilots are not required under the Atlas CBA to volunteer for or accept

open time flying. But under the status quo period prior to this concerted slowdown, pilots did in

fact routinely volunteer to accept open time assignment because of the premium pay associated

with open time trips, at a rate that allowed Atlas to cover its scheduled flying. Now, Atlas pilots

are making it much harder to fill open time trips as part of the Union’s’ “SHOP” campaign.

       27.     Since January 2015, Atlas has recorded the number of calls that its crew

schedulers were required to make to pilots to find a volunteer to accept each open time trip.

Notwithstanding the extra calls Atlas is making to cover open time, Atlas is experiencing an

increase in unfilled open time flying. The concerted effort not to volunteer for and accept open

flying has caused significant delays. When pilots do not volunteer for open trips, Atlas must

staff them with reserves who may be far away from the aircraft’s location or wait for another

pilot to become available. Because Atlas’ reserve and other pilot resources are already stretched

because of a concerted sick-out and significant increases in fatigue calls, Atlas has not had the

resources to cover all open trips.

       d.      Pilots Are Engaged In A Campaign To Block Out On Time (Or “BOOT”).

       28.     As evidenced by the Union’s own words encouraging the BOOT campaign

(“we’re asking everybody—your EXCO is asking you to not block out early, ever, period.


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Period, ever.”), and the resulting pilot change in behavior, it cannot be disputed that pilots are

slowing down by refusing to block out when the airplane is loaded and ready, as they did during

normal operations before the concerted activity began—thereby reducing the operational

flexibility of Atlas and its customers.

       29.     The BOOT campaign, which encourages pilots to “block out on time,” is a

misnomer because there is no “on time” at Atlas. There is an estimated departure time, which is

set to the minute (e.g., 22:05) and is the latest a flight is expected to block out. For instance,

DHL will be aware that a flight carrying its express packages has an estimated departure time of

12:15 p.m., and therefore knows that the flight should depart no later than 12:15 p.m. When a

pilot blocks out (i.e., releases the parking brake and begins push back or taxi) at the estimated

departure time, the flight is not “on time” if it was loaded and ready to leave prior to the

estimated departure time but failed to block out as soon as possible. Since August 1, 2017, the

estimated departure times for Atlas flights operated for Amazon have been moved up by 15

minutes in an effort to mitigate the harmful effects of the BOOT campaign.

       30.     By blocking out at the exact estimated departure time, as opposed to when an

aircraft is loaded and otherwise ready to depart, pilots have deprived Atlas (and its customers) of

substantial operational benefits from departures prior to estimated departure. Atlas (and its

customers) previously relied on these benefits as part of the status quo in order to keep the airline

moving efficiently and to maximize the ability to recover from unavoidable delays. Unlike

scheduled flights carrying passengers who depend on the scheduled departure time for purposes

of arriving at the airport and boarding their flights, there is no need for a cargo flight or charter

passenger flight to wait once loaded and ready.




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        31.     The benefits from blocking out promptly, regardless of estimated departure time,

and instead when the aircraft is loaded and ready, are significant:

        •       The faster the aircraft gets off the ground, the more time Atlas has to address any
                maintenance items that may arise upon arrival at the next station.

        •       Prompt departures prior to estimated departure time provide a buffer that helps to
                ensure a timely, smooth running operation and make it more likely that a flight
                will arrive at its destination early or on time even if it experiences unexpected
                delays en route due to weather, maintenance needs, or air- or ground-based
                congestion.

        •       Early arrivals at the destination give crew members time to make connections or
                otherwise move to their next assignment.

        •       Prompt departures reduce airport and hub congestion for Atlas’ customers.

        32.     Indeed, these benefits are particularly important for Atlas’ customers who base

their package sort operations on a hub philosophy in which banks of aircraft fly in to unload at

one location (up to 120 at a time), and then the same aircraft wait for the outbound freight to be

loaded before departing back out to their respective spokes. These operations have to be well-

orchestrated because many aircraft are departing around the same time in order to arrive at their

destinations to meet delivery commitments. As part of this planning, manpower and ground

equipment are allocated for the unloading/loading process. These resources are shared between

aircraft, such that when a loaded aircraft moves, the personnel and ground equipment are

redeployed to the next departure that they are assigned. If personnel and ground equipment are

not able to push out an aircraft when it is loaded and move on to the next aircraft, the whole bank

of aircraft is slowed down or backed up waiting for the loaded aircraft to move. Because Atlas

pilots are refusing to depart when their aircraft is fully loaded, it is now routine for aircraft to get

backed up, causing pressure on the customers’ systems.

        33.     Given Atlas’ track record of normally departing prior to the estimated departure

time and the associated advantages, customers reasonably expect the Company’s flights to be


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able to leave at the earliest practical time when loaded and ready. For example, if an earlier leg

of a flight was delayed due to maintenance, customers expect that Atlas will do everything that is

within its power and safe to make up for that delay, including by blocking out at the earliest

possible time for the next leg of the flight. And customers expect that Atlas will do everything

that is within its power and safe to deliver cargo to its destination as early as possible—including

earlier than scheduled—to alleviate the harm that could be caused by delays later in the shipping

process. Thus, when pilots intentionally wait until the estimated departure time to leave even

though they were cleared to depart, it deprives Atlas and its customers of the aforementioned

benefits, and Atlas’ customers become dissatisfied with the Company’s operational performance.

       34.     Pilots have made clear they are following the Union’s call to refuse to block out

until the estimated departure time. For instance, Atlas received the following complaint from a

senior representative of a customer about a July 23, 2017 flight: Following a number of delays,

“[a]fter arrival at [Allentown airport], the aircraft was ready for departure to [Ontario airport] at

1955Z. The expectation was set to depart ASAP upon quick-turn of the aircraft to ensure an on-

time arrival . . . . The aircrew refused to depart until the ‘scheduled’ time set by Atlas (2039Z).

The issue . . . was escalated to Atlas and the aircraft blocked out at 2023Z . . . .” (July 26, 2017

Email, infra Paragraph 166.)

       35.     On August 2, 2017, a crew similarly refused to block out before a flight’s 5:30

p.m. estimated departure time. The cargo was fully loaded at 4:34 p.m., but the Captain ignored

the ground staff handling the paperwork necessary for departure. When finally asked if he was

“good to go,” by the station manager, the Captain responded that they were, but the flight was

not scheduled to block out until 5:30 p.m. When the manager then pressed that Captain to

address the paperwork necessary for departure, the Captain finally did so at 5:17 p.m. Despite




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finally completing the paperwork, closing the aircraft doors, and being ready for departure at

5:20 p.m., the aircraft did not block out until exactly the 5:30 p.m. estimated departure time—. I

have attached as Exhibit 3 a true and correct copy of an internal email sent to me on August 24,

2017, forwarding an incident report prepared by an Atlas station manager.

       36.     For an August 25, 2017 flight set to depart at 5:30 p.m., loading was completed an

hour prior to departure and the doors closed seven minutes early, but the plane blocked out three

minutes late. The station manager did not know how to code the delay, so he sent a message to

the crew asking what happened. Through the aircraft’s notification system, the Captain wrote

that he started the engines “on time,” but “IF WE HAD PUSHED IT WOULD BE

CONSIDERED EARLY.”

       37.     Pilots are also more slowly taxiing in and out of the airport. Aircraft taxi time is

the time between when a pilot releases the aircraft parking brake and takeoff (“taxi-out time”) or

the time between landing on the runway and applying the parking brake at the destination (“taxi-

in time”). Pilots have the ability to exert considerable influence on the speed at which they taxi

aircraft before take-off and after landing. Slowing down taxi time is a tactic that the pilots have

used to delay flight departures and cause increased costs to Atlas.

       e.      Pilots Have Significantly Increased The Number Of Maintenance Write-Ups On
               Atlas Aircraft.

       38.     Atlas has a comprehensive maintenance program to ensure the safe operation of

all of its aircraft. As part of this program, pilots are permitted to write-up any maintenance item

of which they become aware, but FAA regulations allow an aircraft to operate with open

maintenance issues that do not affect airworthiness—called Minimum Equipment List (“MEL”)

items. By searching out and insisting on the immediate repair of minor items, such as worn seat

cushions, missing linens, or inoperable coffee makers—particularly at stations where Atlas does



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not have a full maintenance operation or where the nearest station with a full maintenance

operation is a continent away—pilots can significantly delay of a flight. While Atlas, like most

carriers, gives its captains discretion to require a MEL repair be made before departure, pilots

ordinarily and historically exercise their authority to defer the maintenance of MEL items until

such time as the maintenance would not cause a delay. Pilots therefore are not engaging in

normal operations if they write up maintenance items other than those that affect airworthiness.

       f.      Pilots Are Delaying Flights Due To Rejected Crew Meals.

       39.     Atlas provides its pilots with crew meals pursuant to Section 5.E. of the Atlas

CBA. All crew members receive sandwiches, fruit, and beverages on their flights, regardless of

the length of the trip. But the quantity and type of these items, and whether the crew also

receives hot meals, is determined by the length of the flight and the time of day the flight is

scheduled for departure.

       40.     Historically, when a pilot found a catering deficiency, he typically would file a

Flight Crew Report to alert Atlas of the deficiency and ask for meal vouchers to purchase his

own meals in the future. Following receipt of such a Flight Crew Report and addressing the

issue with the catering vendor, Atlas typically would notify the crew member of its findings.

Pilots very rarely—if ever—took a delay as a result of catering issues.

       41.     The pilots’ response to catering issues has changed dramatically over the last six

months. In February 2017, the Atlas Catering Committee of Local 1224 issued a “reminder” to

Atlas pilots that they have “the right to insist upon a contractually-compliant crew meal,

including, if necessary, requesting that the company delay the departure of the flight until the

crew meal arrives. We understand that a decision to delay a departure is not inconsequential. In

some locations, it may be difficult to find catering. Nonetheless, our contract applies to all

locations because the physiological effects of poor nutrition do not discriminate on the basis of


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cities or continents.” Both before and since that “reminder,” Atlas has seen a noticeable increase

in the number of crew meal-related flight delays beyond normal pilot behavior. (February 7,

2017 Catering Reminders, infra Paragraph 93.)

       42.     These catering-related “SHOP” tactics involve similar behavior: flight crews

refuse catering due to some complaint about temperature or taste, reject alternative options

provided (including meal vouchers or substitute meals), and cause the flight to take a delay as a

result. These meritless actions by the crew have led to customer complaints (including customer

requests to have certain crew members removed from flying for that customer), and the loss of

business to competitors. This is exactly what happened on July 18, 2017. A pilot refused both

the planned catering and alternative options for catering, which caused the flight to be grounded

and ultimately not fly to its originally-scheduled destination. Not only did this leave Atlas

without sufficient coverage to operate the rest of its planned routes (since the aircraft and crew

never made it to the destination), but it also forced Atlas’ customer to contract coverage with a

different cargo carrier at an additional cost of $30,000, resulting in lost business and lost

customer goodwill for Atlas. The customer, having recognized the cause of the flight

cancellation, requested that this crew never fly for it again. (July 18, 2017 Email, infra

Paragraph 164.)

       g.      Atlas’ Delays Are Not A Result Of Understaffing.

       43.     Atlas has been aggressively hiring pilots since 2014 in response to increased

demand for its services using B-767 aircraft.

F.     The Slowdown Has Been Orchestrated And Encouraged By The Union.

       44.     There is significant and compelling evidence that the Union is encouraging pilots

to engage in a slowdown in order to put pressure on Atlas in the ongoing labor negotiations. The

Union has an extensive system of communications that it maintains among its members,


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including electronic messages, regular meetings, and internet sites available to union members.

The Union possesses a large number of confidential communication mechanisms to which Atlas

does not have access, including its password protected internet site.

       a.      The Union Encouraged Pilots To Change Their Status Quo Behavior On A
               Concerted Basis At The Time The Union Served Their Section 6 Notice.

       45.     Since January 2016, the Union has been encouraging pilots to change their status

quo behavior on a concerted basis and not to do anything to help Atlas that is not expressly

required by the parties’ CBA as a means to gain leverage. For example, on January 15, 16, and

19, 2016, Captain Mike Griffith, Communications Chair of Local 1224’s Atlas ExCo, posted a

string of tweets encouraging pilots to be “#ALLIN,” stating that he was “encouraged that we can

redouble our efforts in 2016 and bring leverage to negotiations,” and threatening “[f]asten your

seat belts ladies and gentlemen . . . things are about to get a little bumpy going forward.” And

Giant Comms, a Twitter handle run by “a group of professional Pilots at Atlas & Southern Air,”

tweeted on January 28, 2016: “#TeamsterNews #ALLIN: ExCO Chairman Update, be informed,

follow the CBA, don’t be intimidated.” I have attached as Exhibit 4 a compilation of true and

correct copies of tweets tweeted by Captain Griffith’s Twitter handle and the Giant Comms

Twitter handle, from January 2016 through the present.

       46.     In the January 29, 2016 Atlas Teamsters Action Message” (“ATAM”), a bi-

monthly podcast led by Captain Griffith, Communication Chair of Local 1224’s Atlas ExCo, the

Union said:

       •       “The Company believes that it can maximize its profits by abusing the pilots and
               undermining our contract. We must dissuade the Company of this foolish belief,
               and redouble our efforts to enforce and follow our CBA.” (Ex. 5 at 2:12-16.)

       •       “What else does following the CBA look like? Well, if you follow the CBA, and
               with Atlas’ stellar support that they have most of the time, be prepared to wait. It
               is okay to show up and not have transportation and call the Company and sit back
               and wait.” (Id. at 19:14-20.)


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       •       “So that’s what following the CBA looks like. Know what your obligations are.
               Be prepared to wait for the Company to fulfill theirs. It’s not your job to do it.
               And it’s not your job to be an on time take off. It’s theirs. It’s theirs to get all the
               support done so that you can do your job and make that on time take off. It’s not
               your responsibility.” (Id. at 20:19-21:4.)

       •       “So there you go. That’s what following the CBA looks like. And why do we
               care about following the CBA to the letter? Because it helps us. And what it
               doesn’t do is help the people who refuse to help you and your family. It helps us
               as a Union hold the line and help others by supporting the tough decisions on the
               line that each crew member has to make when they deal with the Company.” (Id.
               at 21:8-16.)

I have attached as Exhibit 5 a true and correct copy of a certified transcript of the ATAM podcast

released on January 29, 2016. A new ATAM podcast is released bi-monthly and is hosted by

Captain Griffith on behalf of the Union. The ATAM podcasts are available at

http://giantcomms.libsyn.com.

       47.     In February 2016, pilots posted in an online forum called “Atlas Air Hiring”

available on the Airline Pilot Forums website encouraging their colleagues to slowdown as

instructed by the Union:

       •       “Ou[r] job is to fly the current contract TO THE LETTER . . . If we don’t waver
               then we win.”

       •       “It is time for the pilot group that is already here to expect nothing but 100%
               compliance from EVERY pilot.”

       •       “[Y]ou can bet your ass that [I] will be ALL IN, I will fly the CBA.”

       •       “Following the CBA religiously, not doing other people’s jobs to get the planes
               out on time, and even making sure everyone has their silly yellow lanyards on
               shows the company that we mean business. Whether pilots VX or not is small
               potatoes compared to DHL throwing a fit when Atlas can’t get the packages
               delivered on time.”

       •       “However we need to be realistic here. Plenty of other ways to frustrate the
               company during negotiations that don’t set the union up for a work action lawsuit.
               . . Key word that everyone has been saying is fly the contract, nothing more
               nothing less. Atlas like every other company relies on pilots to carry the
               operation and without them on board things can go south very quickly.”



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       •       “Just simply flying the contract causes full service failures, late block outs and
               management bonuses being taken away, all without any liability to our crews . . .
               Every time I go to work and do nothing except what the CBA and do what those
               little blue books tell me to do, it’s a ‘Giant’ feat just going from the hotel to the
               airplane. My favorite thing to do is sit outside a hotel and watch the clock waiting
               for transportation. At this point, I refuse to do anyone else’s job for them when I
               show up to work.”

       •       “The company is getting ready to shove it up our butt and we still volunteer our
               days off. Way to go guys/gals. Thank you sir may I have another.”

       •       “Follow the CBA. Do not check your schedule during rest periods and do not
               acknowledge any changes on your PCD. Just doing this will get them to the table
               in no time.”

       •       “This battle is going to be won by following the rules to the letter and doing our
               jobs. Safe taxi speeds, safe de-ice practices, good judgment with use of the
               parking brake (there’s no need to ever block out early) always something more to
               review, brief; or, some hazmat to visually inspect, good judgment with the use of
               the APU, never compromising when it comes to your blood sugar and catering
               needs, using the fatigue risk management program (never compromising safety
               for profitability), never doing travels (confirming and or calling for
               transportation) job for them, never doing scheduling’s job for them, never doing
               ANYONE’S job for them . . . .”

I have attached as Exhibit 6 a compilation of true and correct copies of posts to different online

forums available on the Airline Pilot Forums website, www.airlinepilotforums.com, which is

hosted by Airline Pilot Central.

       b.      In February 2016, The Union Began Releasing A Series Of Videos Encouraging
               Pilots To Slow Down.

       48.     In or around February 2016, the Union began a series of communications to pilots

regarding changing their status quo behavior on a concerted basis, including a series of videos

addressing fatigue, SHOP, and BOOT. These communications focus so heavily on the precise

metrics that pilots are using to slow down the airline that they confirm the Union’s direct efforts

to change pilot behavior on a concerted basis in a manner that degrades the operation. The first

video, released in mid-February, 2016, addressed fatigue. The video begins with the host saying

that he called in sick last night and looking at a thermometer that reads 105 degrees. (Ex. 7 at


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1:7-10.) He then says “The subject of this CBA Chat is fatigue. Now, a fatigue call is not

necessarily to say that you’re fatigued . . . It may be a call to say that you will be fatigued.” (Id.

at 1:12-14, 1:17-18.) At the same time, he pulls a hot water bottle out from his shirt and says

he’s “getting hot now.” (Id. at 1:15-16.) The video continues with express instructions about

how to “prove fatigue.” (Id. at 2:18-19.) The host explains that a Fitbit device can be used to

track sleep that provides “good evidence” that “I may not be safe.” (Id. at 2:21-3:7.) He also

says that “[w]hen you’re training in Miami, you are stressed and you are fatigued. And that

opens you up more to catching something like this.” (Id. at 3:13-16.) The video ends with the

instructions: “So always be safe. Don’t fly or train fatigued. Remember . . . it’s your CBA.

They signed it. You use it.” (Id. at 3:21-4:4.) I have attached as Exhibit 7 a true and correct

copy of a certified transcript of the CBA Chat video podcast released in mid-February, 2016.

The CBA Chat podcasts are hosted by Captain Gary Saunders on behalf of the Union. They are

available at http://giantcomms.libsyn.com, unless otherwise noted.

        49.    The Union followed up this video with further ATAMs emphasizing the theme of

pilots changing their behavior so as to not help management. In the February 15, 2016 ATAM,

the Union stated: “Are you going to continue to sell your talents for a quick buck, or are you

going to stop doing the Company favors and follow the CBA to the letter and give your EXCO

and Negotiation Committee the leverage and power they need today?” (Ex. 8 at 1:17-21.) And

in the context of discussing a slowdown campaign at another airline that “got their attention,” the

Union said, “You know it did. And we have Atlas’ attention now”—admitting that the Atlas

pilots are engaged in the same slowdown activity. (Id. at 21:12-22.) I have attached as Exhibit 8

a true and correct copy of a certified transcript of the ATAM podcast released on February 15,

2016.




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        50.    Similarly, in the March 15, 2016 ATAM, the Union said:

        So as we bring this episode of the ATAM to a close, I would like to give a hat tip
        to our very professional aviators, who decided not to go to the Women in
        Aviation’s convention to help out Purchase in their recruitment of unsuspecting
        pilots in our industry. These people know how to shop. And shop stands for stop
        helping out Purchase. It has kind of become a mantra on the line right now. And
        it goes hand-in-hand with following the CBA. You follow the CBA, as Gary
        [host of the CBA Chats] would say it, they signed it, you use it. But in everything
        else that’s outside of the CBA, like doing special favors and recruiting, stop
        helping out Purchase. And these folks are highest on the list right now. They are
        the master shoppers among us. Their efforts basically shut down the recruiting
        availability for Atlas at this conference.

(Ex. 9 at 21:22-22:18.) I have attached as Exhibit 9 a true and correct copy of a certified

transcript of the ATAM podcast released on March 15, 2016.

        51.    The second CBA Chat video, released in late February or early March, 2016,

addressed open time flying. The video tells pilots to strictly comply with the CBA, even if they

go against the Union’s instructions not to accept voluntary flying: “Now, what protection does

the lowly VXer [pilot flying on his day off] have? The entire CBA. Insist on your pre-duty rest.

Insist on your minimum rest, and every other provision of the CBA. If their trip falls apart, so be

it.” (Ex. 10 at 3:17-22.) The video ends with the CBA Chat catchphrase of “It’s your CBA!

They signed it, you use it.” (Id. at 4:9-10.) I have attached as Exhibit 10 a true and correct copy

of a certified transcript of the CBA Chat video podcast released in late February or early March,

2016.

        52.    These instructions were repeated by pilots on www.airlinepilotforums.com in

March 2016. For example, one pilot wrote in March 13, 2016, “We have lots of leverage here.

Fly the CBA.” And on March 20, 2016, another pilot wrote, “However to bring the company to

the negotiating table it will take slowing the operation down by following the CBA exactly,

liberally writing up airplanes for mechanical issues, and most of all not pushing to get an

airplane out on time.” (Atlas Pilots Forum, supra Paragraph 47.)


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        53.    In a CBA Chat released on or about March 26, 2016, the Union focused on

SHOP:

        Well, quite simply, it stands for Stop Helping Out Purchase. And is defined as
        doing the job that we were hired to do safely, professionally, competently, and
        within the CBA. It is not doing the jobs of others . . . When we ‘SHOP,’ we are
        then free to devote our duty time to promoting a safer operation, to adhering to
        CBA compliance, and to a more stress free, hence, safer operation. And safety is
        everything. As we go forward with these CBA Chats, I’ll endeavor to
        ‘amalgamate’ [a reference to a joint CBA covering the Atlas and Southern Air
        pilots] shopping into the CBA issues of the day.

(Ex. 11 at 1:16-20, 2:4-11.) The video then launched into a very detailed explanation of the

precise rules for pre-duty rest vis-à-vis schedule changes. (Id. at 2:12-5:4.) The host explains

that if you do not comply with these rules “you are hopping. You are helping out Purchase. And

more than that, you’re doing so by shortening your CBA allowed pre-duty rest. And you are

eroding safety. And no one wants that . . . Be a shopper [i.e., a person who Stops Helping Out

Purchase], not a hopper [i.e., a person who Helps Out Purchase].” (Id. at 5:2-14.) The chat

ended with its catchphrase (“It’s your CBA! They signed it, you use it.”), and the host added,

“Safe shopping.” (Id. at 5:19-21.) I have attached as Exhibit 11 a true and correct copy of a

certified transcript of the CBA Chat video podcast released on or about March 26, 2016.

        54.    These communications were all having their intended effects, as evidenced by

postings on www.airlinepilotforums.com around this time:

        •      “In regards to your ‘work to the rule’ again the rules for the most part have been
               written in blood and we would be fools to not follow them . . . Stay safe, fly smart
               or the next bulletin could be about you.”

        •      “Sorry, not flying with an open write-up, period. If it can be deferred, as anything
               trivial can be, I’ll fly it once it’s legal.”

        •      “I am too fatigued to fly a trip.”

        •      “Our biggest (only) tool in this fight is that we control the movement of the
               airplanes.”



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       •       “The open times keep filling up. We’re not even close to mad enough!”

       •       “It’s amazing to me to still see open time getting filled, so short sighted. 2
               months of no open time pickup and I believe the company would be thinking
               differently. Plus who the heck wants to work more then 17 days a month? You
               can wear the lanyard all day long but until 100% of us don’t do anymore then
               what we are contractually required to fly it’s gonna be a long painful process. Do
               not VX, outbase, help out other then what is required, no excuses.”

       •       “Applies to Southern pilots as well. Stop picking up open time trips. IBT can’t
               direct it, that wiuld be an illegal job action. Your peers are requesting this of
               you.”

(Atlas Pilots Forum, supra Paragraph 47.)

       55.     In the March 31, 2016 ATAM, the Union continued to encourage pilots to change

their status quo behavior by SHOPing and strictly complying with the Atlas CBA:

       To that end, we’re going to be focusing on crews and individuals who rise above
       the daily incompetence of headquarters and score a win for the crew force by
       SHOPing. What is SHOPing, you say? Well, it stands for Stop Helping Out
       Purchase. And when we do this one thing, requiring some judgment on your part,
       and strictly following the CBA, it emphasizes to management how important and
       valuable a well compensated and highly motivated crew force can be to enhancing
       their operations and customer satisfaction.

(Ex. 12 at 10:9-19.) I have attached as Exhibit 12 a true and correct copy of a certified transcript

of the ATAM podcast released on March 31, 2016.

       56.     In the April 1, 2016 Chairman’s Update, Captain Kirchner emphasized this same

message:

       There are a lot of new people working in Purchase and unfortunately the company
       has not taken the time to train them properly or teach them the CBA. You must
       be vigilant and guard your rights every day. I also want to ask you all to redouble
       your efforts to help out and indeed take our probationary pilots ‘under your wing’.
       These fine men and women need your guidance and protections as they weave
       their way through the many treacherous pitfalls here at Atlas . . . As we move into
       the busier part of the year, this is a good time to review your rights under the
       CBA…. Remember, your union stands 100% behind you with regard to CBA
       enforcement and adherence. You will not be disciplined or harassed for strictly
       following the CBA.




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I have attached as Exhibit 13 a true and correct copy of a Chairman’s Update sent April 1, 2016.

Atlas ExCo Chairman Captain Robert Kirchner sends updates via email to Atlas crew members

at various times titled either “Chairman’s Update,” “Chairman’s Message” or “Message from the

Chairman.”

       57.     The April 12, 2016 CBA Chat focused on rest periods for the express reason of

being able to “hold the Company down, keep within our CBA, and stop them using us as reserve

pilots.” (Ex. 14 at 1:7-15.) Like the other CBA Chats, this video provided express instructions

for how to strictly comply with the Atlas CBA when it comes to rest. The chat also discussed the

BOOT program in great detail: “And this is all about shopping. BOOT stands for Block Out On

Time. And we are not doing this. We are going early, left, right, and center.” (Id. at 18:19-22.)

Even more expressly, the Union said, “we’re asking everybody—your EXCO is asking you to

not block out early, ever, period. Period, ever.” (Id. at 20:19-21.) The Union also said they

would pressure those who block out early by publicly posting identifying information, including

on Facebook, so others can see “exactly who is hopping,” because “100 percent block out on

time . . . sends the Company, sends Ford Harrison an excellent message back that says we are

together. No flights coming out early.” (Id. at 41:20-43:6, 47:2-12.) In discussing “other great

shopping tips,” the Union advised “don’t go fast.” (Id. at 48:22-49:2.) One chat participant said

that his “taxi speed is a safe, very safe taxi speed,” and he has “been seeing a lot of guys taxiing

pretty fast” and he has been “wondering what the hell they’re doing.” (Id. at 52:10-16.) The

chat host added, “We are paid to be professional pilots. We’re not paid enough, Lord knows, but

we’re not being professional pilots when we are hopping. We’re being professional pilots when

we SHOP.” (Id. at 52:18-22.) The chat ended with a discussion of how pilots who do not slow

down “have got hopper written on their forehead”—“or worse”—and that “most of these guys . .




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. don’t want to be on the bad list.” (Id. at 58:16-18, 59:19-21.) I have attached as Exhibit 14 a

true and correct copy of a certified transcript of the CBA Chat audio podcast released on April

12, 2016.

       58.     In the April 15, 2016 ATAM, the Union said: “Be all in. Follow the CBA. And

shop every chance you get when you’re at work because, it’s working.” (Ex. 15 at 22:22-23:2.)

I have attached as Exhibit 15 a true and correct copy of a certified transcript of the ATAM

podcast released on April 15, 2016.

       59.     On April 29, 2016, Captain Griffith tweeted at Giant Comms with the hashtags

“#SHOP” and “#BOOT.” (Atlas Pilot Tweets, supra Paragraph 45.)

       60.     On May 11, 2016, a pilot posted on www.airlinepilotforums.com: “There’s no

slow down. We are simply flying our CBA, practicing safe operating procedures and refusing to

do other people’s jobs for them. If things ‘slow down’, it is a byproduct of Purchase’s own lack

of organization and structure.” (Atlas Pilots Forum, supra Paragraph 47.)

       61.     In the May 13, 2016 ATAM, the Union said: “Airlines such as Lufthansa know

full well, unhappy pilots can be very costly. Merely stating that they will be happy to see Atlas

expand is to miss or willfully ignore the point. Atlas’ customers will not be happy if the planes

stop flying.” (Ex. 16 at 14:11-16.) They later added, “All we have to do is follow the CBA,

shop, and boot. And that’s what your Union asks of you.” (Id. at 17:3-4.) I have attached as

Exhibit 16 a true and correct copy of a certified transcript of the ATAM podcast released on May

13, 2016.

       c.      The Union Continued To Encourage Pilots To Slow Down Throughout The
               Summer Of 2016.

       62.     In the June 2, 2016 Chairman’s Message, Captain Kirchner wrote: “It will be a

long struggle that will not be won overnight. I call on each and every one of you to commit to a



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long battle. Our time is now! If you decide to be a spectator, you will regret it for the rest of

your career. Let’s back up our recent 99.6% strike vote with a solid 100% proactive

participation to get our rightful CBA. It is long overdue here at Atlas Air, and even more so at

Southern Air. Strict, strict, strict contract compliance is the first step.” I have attached as Exhibit

17 a true and correct copy of a Chairman’s Message sent June 2, 2016.

       63.     In the June 15, 2016 ATAM, the Union told the story of two crews that “shopped.

They stopped helping out Purchase and forced the Company to follow the CBA to get an airplane

back into the air and earning money for the Company.” (Ex. 18 at 10:20-11:1.) The Union

explained that the first “crew refused the flight for it not being in compliance with the CBA and

the requirements for catering on board,” causing “Crew Scheduling [to do] a mad search for a

crew,” and then the second crew also “refused to fly the plane until it was catered properly from

yet again another scheduled takeoff time,” causing a delay “for another 37 minutes, waiting for

sandwiches to arrive at the facility.” (Id. at 11:18-12:11.) The Union then blatantly said this was

improper activity: “Now, some of you out there are saying this is petty, come on, not flying for

sandwiches in a CONUS [Contiguous United States] flight. Well, yeah. We’re stop helping out

Purchase. We’re shopping. And both of these crews did exactly that.” (Id. at 12:12-16.) I have

attached as Exhibit 18 a true and correct copy of a certified transcript of the ATAM podcast

released on June 15, 2016.

       64.     The June 20, 2016 CBA Chat focused on BOOT: “BOOT stands for Block Out

On Time. And starting immediately, your EXCO are requesting that we all strive to block out on

time, no early departures . . . By blocking out on time, you are a shopper. And you’re promoting

a safer and CBA compliant operation.” (Ex. 19 at 1:7-11, 2:4-6.) The host ended the chat by

advising pilots to “SHOP safely” and with the CBA Chat catchphrase (“It’s your CBA! They




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signed it, you use it.”). (Id. at 3:6-10.) I have attached as Exhibit 19 a true and correct copy of a

certified transcript of the CBA Chat video podcast released on June 20, 2016.

       65.     The June 27, 2016 Chairman’s Update stated: “I ask you again to stick to the

CBA and enforce it strictly. Remember, your union will stand behind you.” I have attached as

Exhibit 20 a true and correct copy of a Chairman’s Update sent June 27, 2016.

       66.     This was echoed by the Union in the June 30, 2016 ATAM: “Time will tell, but

we are in for a long fight for a fair contract. But believe me, it will be worth it. Very worth it,

indeed. Your EXCO also wishes to remind you that your adherence to the CBA and all the

things each and every one of you are doing daily are having a tremendous affect and it’s

working.” (Ex. 21 at 7:7-13.) The ATAM also told the story of two captains who volunteered to

help Atlas, warning “[t]hese two individuals served as an example for all of our crew members,

especially the Captains out there, that you had better make darn sure you are in compliance with

the CBA when the dust settles or you might find yourself on the wrong side of the very Union

that represents your right to work under the contract that you may hold in such disdain and

disregard.” (Id. at 11:9-16.) Later in the call, the Union again ominously warned, “if you go out

on your own, volunteering for things that are not covered by the CBA, you better make darn sure

that when the dust settles, that you have put yourself in a situation that you will not have to end

up explaining if something goes horribly wrong or someone gets hurt.” (Id. at 15:10-15.) I have

attached as Exhibit 21 a true and correct copy of a certified transcript of the ATAM podcast

released on June 30, 2016.

       67.     The July 29, 2016 ATAM stated: “But it is up to you as an individual crew

member, and collectively as an entire solidified crew, to uphold our end of this industry trailing

CBA for the time being. It is our best defense and our best weapon as we support our leadership




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and they work to get Purchase back to the negotiating table. Believe me, it is working.” (Ex. 22

at 4:7-14.) I have attached as Exhibit 22 a true and correct copy of a certified transcript of the

ATAM podcast released on July 29, 2016.

        68.    On August 11, 2016, a pilot posted on www.airlinepilotsforums.com: “The best

thing we can all do is follow the contract to the letter, follow the FOM to the letter, and do our

job . . . and nothing more than we are required . . . Check the catering thoroughly and don’t go

until it meets the CBA requirements. Don’t fly open time. Heed the advice of the ExCo.”

(Atlas Pilots Forum, supra Paragraph 47.)

        69.    In the August 26, 2016 Chairman’s Update, Captain Kirchner stated:

        Let me finish up by asking each and every one of you to show a new and more
        steadfast resolve toward contract compliance and adhering to some of our
        ongoing programs. We anticipate that the company will be stretched to the limit
        and beyond in the fourth quarter. We all know what that means when they get in
        a jam. This company may then attempt to throw out the CBA and any other rule
        that gets in the way, resorting to any means possible to make the flight go.
        Therefore, be vigilant, don’t back down and hold on to your license and CBA
        tightly. Use the QR pamphlet [a “quick reference” pamphlet issued by the
        Union], it’s a great guide that was painstakingly put together to help all of us in
        CBA enforcement. Use the union to back you up. We are anticipating a very
        chaotic fourth quarter.

I have attached as Exhibit 23 a true and correct copy of a Chairman’s Update sent August 26,

2016.

        70.    The August 31, 2016 ATAM said: “Each and every one of us needs to show a

new and more steadfast resolve toward contract compliance and adhering to some of our ongoing

programs. We anticipate that the Company will be stretched to the limit and beyond in the fourth

quarter. We all know what that means when they get into a jam, don’t we? This Company may

then attempt to throw out the CBA and any other rules that get in the way resorting to any means

possible to make a flight go. Therefore, be vigilant. Don’t back down. And hold on to your




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license and the CBA very, very tightly.” (Ex. 24 at 4:9-21.) I have attached as Exhibit 24 a true

and correct copy of a certified transcript of the ATAM podcast released on August 31, 2016.

       71.     In the September 15, 2016 ATAM, the Union described the effectiveness of

striking and picketing in the same breath as the importance of safety multiple times:

“[Striking/picketing are] only the first step taken to demand Company executives stop denying

them a fair industry standard contract. The EXCO wishes you to remember in everything you do

in your job to remember safety is our primary concern while we continue to work for this

unenlightened management group and that this week marks the current contracts’ amendable

date.” (Ex. 25 at 5:17-6:2.) They also said, “Starting on the 9th of September with our

informational picketing at headquarters in Purchase, New York was a first step. But let’s all

remember, the most important lesson our Union wants us to make sure that we never forget,

safety now is paramount and must be increased as outside influences start to begin to intrude on

our operational world.” (Id. at 17:6-12.) I have attached as Exhibit 25 a true and correct copy of

a certified transcript of the ATAM podcast released on September 15, 2016.

       72.     In the September 16, 2016 CBA Chat, the Union encouraged pilots to do

“[w]hatever it takes to get the most out of your rest period, and therefore, be as safe as you can.”

(Ex. 26 at 5:1-3.) The video closed with its catchphrase, “It’s your CBA. They signed it. You

use it.” (Id. at 5:9-10.) Just a few days later, on September 19, 2016, another CBA Chat was

released that focused on delays. The Union included graphics in the video that said, “Always

BOOT.” (Id. at 4:9.) The video again closed with its catchphrase and added, “Fly safe. Block

out on time.” (Id. at 4:19-5:11.) I have attached as Exhibit 26 a true and correct copy of a

certified transcript of the CBA Chat video podcast released on September 16, 2016; and as

Exhibit 27 a true and correct copy of a certified transcript of the CBA Chat video podcast




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released on September 19, 2016. They are available on YouTube, available at

https://www.youtube.com/watch?v=4sCFUmaFQnY&t=14s.

       73.     In the September 30, 2016 ATAM, the Union made multiple comments

encouraging pilots not to volunteer to fly: “The Company, you know, speaking of pilots, is now

so short the schedulers have been told to call pilots on their days off, at home, and solicit them to

fly. The program, so far, is falling flat, as most are either not answering their phone or refusing

to come out on their days off, which is their right under the contract. Scheduling is getting very

desperate. And they’re running out of options.” (Ex. 28 at 9:3-12.) Captain Griffith said, “I am

not going to volunteer my time to help the Company until we have a signed CBA that helps me

and all of us.” (Id. at 11:14-16.) The ATAM also encouraged pilots to change their status quo

behavior and strictly comply with the CBA to support the Union: “Knowing what the CBA says

and letting folks search their own conscience for the right choice when it comes how to interpret

their individual actions when they are part of a Union team are really good examples of effective

solutions not involving overthinking or making something more complicated than it needs to be.”

(Id. at 15:18-16:2.) I have attached as Exhibit 28 a true and correct copy of a certified transcript

of the ATAM podcast released on September 30, 2016.

       d.      In The Fall Of 2016, The Union Intensified Its Slowdown Campaign By Falsely
               Claiming That The Operation Is In Trouble Due To Attrition And Remaining
               Pilots Should Not Help The Operation.

       74.     Around this time, the Union began intensifying its slowdown efforts by tying pilot

attrition rates to slowdown activities. On October 5, 2016, Local 1224 issued a Message from

the Chairman, which tied Atlas’ “failed contract suppression strategy” and “game of pretend

negotiations” with the so-called understaffing of pilots: “The experience level alone of pilots

walking out the door is catastrophic for the future of Atlas, and the company may soon find it-

self slipping past the ‘tipping point’ as far as labor goes. If Atlas does not reverse course soon, it


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may find that its best days are well behind it.” The message reminded pilots of the union’s

slogan “IT’S UP TO ME” because “it is up to you all to make a difference and show your

dissatisfaction.” I have attached as Exhibit 29 a true and correct copy of a Message from the

Chairman sent October 5, 2016.

        75.     On October 8, 2016, Giant Comms tweeted “there are no pilot[s],” there will be

“tensions for customers . . . as #Q4 becomes chaos,” and “When @Teamsters pilots follow the

CBA and ONLY do their jobs, @AtlasAirWW’s paper thin, bare bones operation shows its

expertise.” (Atlas Pilot Tweets, supra Paragraph 45.)

        76.     In the October 14, 2016 ATAM, the Union explained why changing status quo

behavior and strictly complying with the Atlas CBA helps the union in negotiations given the

alleged lack of sufficient pilot staffing:

        Regardless of what any newly minted VP may have to say about it or may have
        sold to their supervisors in the past, no reserves are available because they have
        called them all out on day one. People not willing to extend their trips, people
        choosing to spend time with their families, and the multitude of other reasons
        Purchase cannot contact crew members to plead for help makes their failure
        obvious. And the system can and has, in the past, come crashing down on them
        like a house of cards.

        Having individual crew members follow the CBA helps to educate each of us on
        our rights and our responsibility under this legally binding document, regardless
        of whether we love or hate it. So what would you choose to follow? Follow our
        Union that asks you to follow their guidance and the contract, or follow Purchase
        who can’t seem to comply with this contract and constantly asks you for favors to
        shore up their shoddy planning and execution schemes. The choice is actually
        simple. And as always, it’s completely yours. So choose wisely.

(Ex. 30 at 2:7-3:7.) The Union then explained some of “those things in the CBA we’re not

required to do”: “You are not required to bid or accept open time flying or VX. You are not

required to answer your phone when on days off. You are not required to answer your phone

when on vacation . . . .” (Id. at 19:2-9.) The ATAM closed with the usual admonition: “We

have learned we have choices. We have learned what some of those choices look like. We have


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learned that following the CBA is a simple and extremely effective way to give our Union all the

leverage it needs to score points during talks and negotiations with Purchase.” (Id. at 20:1-6.) I

have attached as Exhibit 30 a true and correct copy of a certified transcript of the ATAM podcast

released on October 14, 2016.

        77.    On October 21, 2016, Giant Comms tweeted a photo of Amazon CEO, Jeff

Bezos, asking “Please explain to me again why you don’t have enough pilots for my 20 new 767

freighter conversions.” (Atlas Pilot Tweets, supra Paragraph 45.)

        78.    In the October 31, 2016 Chairman’s Update, the Union heavily emphasized

changing status quo behavior in the form of strict compliance with the Atlas CBA:

        On a much better note, your efforts, solidarity and adherence to the CBA has been
        remarkable. As I have told many of my fellow union workers, this pilot group has
        far exceeded my expectations on unionism and standing up for our rights under
        the CBA . . . Remember, every time you enforce the CBA you not only make our
        union stronger you also improve your life and make things better for yourself in
        many more ways than a $50 voucher or a few overtaxed overtime hours could
        ever do.

        Do not allow the new untrained people in Purchase to put you or your fellow crew
        members in harm’s way, by leading you into situations which violate basic safety,
        the CBA or the FARS . . .

        As always, our slogan is most important now.

        It’s Up to ME, every day.

I have attached as Exhibit 31 a true and correct copy of a Chairman’s Update sent October 31,

2016.

        79.    In the November 15, 2016 ATAM, the Union pressed the theme of pilot

shortages, and repeatedly instructed pilots to engage in prohibited self-help during the busy

holiday period:

        •      “If Atlas continues to deny us an industry standard contract, we simply won’t
               have enough pilots to get the job done . . . .” (Ex. 32 at 3:17-4:5.)



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       •       “So [Atlas] . . . when it comes to accusing our Union and our crew members of
               playing with fire, you better check yourself and do it right now because both
               ethically and legally, you have left a pretty big book of tempting matches just
               laying out there unsecured for anyone to come along and start experimenting with
               fire all on their own.” (Id. at 2:13-19.)

       •       “Demand what you are worth [in contract negotiations]. And hold the line in
               everything our Union asks you to do as a crew member. We will win this. And
               believe me, it will be momentous.” (Id. at 16:19-22.)

I have attached as Exhibit 32 a true and correct copy of a certified transcript of the ATAM

podcast released on November 15, 2016.

       80.     On November 22, 2016, Giant Comms threatened Atlas via a tweet related to a

strike the Union called at ABX, one of Atlas’ competitors, that very same day. Giant Comms

tweeted to Atlas that “a Q4 like ABX’s will be yours without industry parity wages for

@Teamsters pilots” and that Atlas’ customers “@DHLUS, @amazon & @JeffBezos not

amused.” Giant Comms also tweeted: “@JeffBezos & @amazon really should cause heads to

roll at ABX, because this could spread to other air carriers!” Although the strike was called

against ABX, the Union instructed pilots working for Atlas not to cross the ABX picket line

erected in Cincinnati. Because Atlas has a significant presence at the Cincinnati airport, its

operations were severely disrupted and over 20 flights were cancelled as a result. Businesses

that were depending on Atlas at this make-it-or-break-it time of year, and individuals who were

counting on Atlas to deliver their holiday packages were disappointed by the resulting delays in

service. (Atlas Pilot Tweets, supra Paragraph 45.)

       81.     The November 23, 2016 CBA Chat focused on slowing down with respect to

reserve flying. The video instructed pilots called for reserve flying to “[t]ake your time because

that’s your time for you to be safe . . . .” and “[d]o not be afraid to call fatigued on R2 [reserve]

. . . As always, it is safety first.” (Ex. 33 at 7:5-6, 8:12-13.) The video closed with its standard

catchphrase. (Id. at 15:7-8.) I have attached as Exhibit 33 a true and correct copy of a certified


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transcript of the CBA Chat video podcast released on November 23, 2016. It is available on

YouTube, available at https://www.youtube.com/watch?v=klTE8Rs89rA&t=4s.

       82.     On November 30, 2016, the Union released a CBA Chat about Atlas-issued iPads,

warning that “[a]nything you do on the iPad is either being watched or has the potential to be

watched.” (Ex. 34 at 2:2-3.) The video encouraged pilots to delete a number of programs off

their iPads. (Id. at 1:11-13, 2:13-20.) The video also included graphics that said “ALL IN” and

“BOOT & SHOP FOR SAFETY.” (Id. at 4:17, 5:7.) I have attached as Exhibit 34 a true and

correct copy of a certified transcript of the CBA Chat video podcast released on November 30,

2016. It is available on YouTube, available at https://www.youtube.com/watch?v=anjYo-

IKfc8&t=27s.

       e.      The Union Acted On Its Threats, And In December 2016, During The Peak
               Holiday Season, It Intensified Its Campaign And Continued To Threaten Atlas’
               Customers.

       83.     Heading into December 2016 and leading up to the holidays, the threats towards

Atlas’ customers intensified. On December 7, 2016, Giant Comms tweeted at Amazon’s CEO:

“we hope Atlas Air management isn’t telling you everything is under control, because it isn’t”;

“it’s time to come to the table to settle this”; “This isn’t just going to go away. Let’s settle this

tomorrow before the real holiday crunch.” (Atlas Pilot Tweets, supra Paragraph 45.)

       84.     The December 15, 2016 ATAM further linked the alleged pilot shortage to

contract negotiations: “We could be this way [like Federal Express] here at Atlas. But it’s going

to take a bunch of work . . . And we must all be motivated to make these dreams a reality. The

economics and undeniable pilot shortage will eventually make management come back to the

table to get the contract that gets us the respect and working conditions we and our families

deserve. These are two weeks left to go in fourth quarter.” (Ex. 35 at 18:5-22.) The message

also suggested that pilots should not be volunteering for open trips: “Publicly, what comes from


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Purchase [the location of Atlas’ headquarters] should be taken with a grain of salt. Their hiring

is in complete disarray as the field of candidates that HR is able to hire based on their very own

policies is down to almost zero. The awarding of open time is, in reality, going to those with

holes in their patterns and those on reserve. Now, this is truly not an award. But many times an

involuntary extension coupled with a flimsy attempt at spin in their announcements just to take a

poke at our membership.” (Id. at 3:18-4:7.) I have attached as Exhibit 35 a true and correct copy

of a certified transcript of the ATAM podcast released on December 15, 2016.

       85.     On December 16, 2016, Giant Comms retweeted Captain Griffith’s tweet that

“@AtlasAirWW’s failure to engage with @Teamsters pilots will cost them mightily in Q4 due to

understaffing and no CBA.” (Atlas Pilot Tweets, supra Paragraph 45.)

       86.     Atlas attempted to persuade the Union to stop their slowdown campaign and abide

by their statutory obligations by sending a letter on December 19, 2016 informing the Union that

the pilots’ increased use of sick leave and the refusal of crew members to volunteer for and

accept open time flying in the ordinary course were a violation of the RLA and requesting that

they take immediate actions to stop the slowdown. In response, the Union sent a letter, dated

December 21, 2016, denying that they were engaged in an illegal slowdown, accusing Atlas of

“posturing, bombast and bluster,” and failing to provide any assurances that the Union would

take any action to stop the pilot slowdown. Instead, in their letter, the Union continued to

perpetuate the allegation that Atlas has a problem with “attrition, scheduling, and staffing . . ..”

And in a further effort to rile and mislead their members, in a Chairman’s Update on December

22, 2016, the Union sent Atlas’ letter to pilots and tied the letter to contract negotiations—Atlas’

“quest to keep us at the low ‘bargain rates’ they currently enjoy for pilot labor.” I have attached

as Exhibit 36 a true and correct copy of a letter from J. Carlson of Atlas to D. Wells and R.




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Kirchner of the Union, dated December 17, 2016, but sent via email on December 19, 2016; as

Exhibit 37 a true and correct copy of a letter from D. Wells and R. Kirchner of the Union to J.

Carlson of Atlas, dated December 21, 2016; and as Exhibit 38 a true and correct copy of a

Chairman’s Update sent December 22, 2016.

       87.      In the December 30, 2016 ATAM, the Union stated, in the context of asking

“does Atlas have the time to deliver?” and discussing “holiday gifts arriv[ing] on time,” that

“Amazon is learning something that it and many other companies of its size have also

encountered, rapid growth doesn’t come without some growing pains.” (Ex. 38 at 14:8-18.) I

have attached as Exhibit 39 a true and correct copy of a certified transcript of the ATAM podcast

released on December 30, 2016.

       f.       The Union Continued Its Slowdown Campaign Into 2017.

       88.      In early January 2017, Giant Comms retweeted a number of tweets by Captain

Griffith promoting the same message: “The pain stays without pilots for @Amazon #PrimeAir

jets. No CBA, no pilots stay!”; “Staffing critical; no reserves; customers not served; pilots

ANGRY!”; “Hope @Amazon & @JeffBezos don’t hear these @AtlasAirWW pilot numbers.

#PrimeAir will not be staffed as promised.” (Atlas Pilot Tweets, supra Paragraph 45.)

       89.      And in the January 6, 2017 Chairman’s Update, Captain Kirchner started the year

with a very direct message to pilots that the slowdown is working and they should continue

slowing down:

       Our pilots are All In and will not fall victim to such management-sponsored
       treachery. Our pilot group is firmly resolved in its determination to secure a fair
       contract.

       The good news for our union, and bad news for management, is that most of you
       are fighting back and calling them on their games. Crew members are daily
       learning to defend themselves with the CBA to even the playing field to thwart
       the constant attacks on our CBA . . .



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        Our combined resolve and all of the initiatives we began in 2015 were very
        effective. In 2016, we were vastly stronger and became better as a group. We
        have strong evidence of how effective we have been, and you should all be very
        proud of your individual supportive actions and those of our group as a whole.
        However, we cannot rest on our laurels. Now is the time to call on all our new
        strength and capabilities and step up the fight in 2017. This will be a VERY
        pivotal year for us and it will depend on each and every one of YOU enforcing the
        CBA very strictly. What you do every day will dictate whether the anti-union
        policies win our future or not. We must not let them punish and harass us into
        submission. This is more than just a battle between labor and management; this is
        an attack on unionism in general and is an attack on the entire Teamster
        organization.

        Unfortunately, your leadership predicts record attrition in 2017 at Atlas and
        Southern Air. With all the retirements and the hundreds of you who have literally
        given up any hope that this will be anything other than lowest paid worst treated
        pilot environments in the aviation industry. We anticipate many more of our
        fellow pilots and friends walking out in 2017. I ask that even though many of you
        are planning on leaving as soon as you can, please enforce the CBA to make
        things better for those you will leave behind . . .

        You can expect the company in the coming weeks and months to paint a
        misleading picture of a rosy fourth quarter. The industry pilot shortage and our
        record low morale made for a terrible fourth quarter for Atlas. Their missed
        business opportunities and service disruptions were evident and numerous. Their
        bad planning, abysmal labor relations, poor maintenance and scheduling debacles
        were among the many reasons for what amounted to a bumpy fourth quarter to
        say the least. Management will attempt to hide these failures by pointing to the
        ABX strike, manipulating reports and numbers to show self-serving results
        amongst other fabrications. As usual, the many management failures and
        miscalculations will be predictably blamed on our union. That’s OK though, we
        have very big shoulders and are accustomed to this old deflection of responsibility
        from management by now.

I have attached as Exhibit 40 a true and correct copy of a Chairman’s Update sent January 6,

2017.

        90.    Similarly, in the January 15, 2017 ATAM, the Union repeatedly encouraged pilots

to strictly comply with the Atlas CBA even though inconsistent with the pilots’ status quo

behavior:

        •      “Now is the time to call on all our new strength and capabilities and step up the
               fight in 2017. This will be a very pivotal year for us. And it will depend on each
               and every one of you enforcing the CBA very strictly.” (Ex. 41 at 5:13-17.)


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       •       In the context of discussing individuals who are “unmotivated and likely planning
               to leave their current place of employment,” the Union said “Ever heard of SHOP,
               Stop Helping Out Purchase?” and “What about all those other things that aren’t
               required in the CBA.” (Id. at 12:12-14, 13:7-8, 15:4-5.)

       •       “Unfortunately, your leadership predicts record attrition in 2017 at both Atlas and
               Southern Air. With all the retirements and the hundreds of you who have literally
               given up any hope that this will turn out to be anything other than the lowest paid,
               worse treated pilot environments in the aviation industry. We anticipate many
               more of our fellow pilots and friends walking out in 2017. Your Union asks that
               even though many of you are planning on leaving as soon as you can, please
               enforce the CBA to make things better for those of us you will be leaving
               behind.” (Id. at 17:17-18:7.)

I have attached as Exhibit 41 a true and correct copy of a certified transcript of the ATAM

podcast released on January 15, 2017.

       91.     In mid-January 2017, Giant Comms tweeted repeatedly about pilot attrition and

often copied Amazon and its CEO: “No pilots = No airline”; with a picture of a falling house of

cards, “@AtlasAirWW in PILOT CRISIS. No CBA and no new progress spurs 23 @Teamsters

pilots to leave for @UPS jobs in Jan.”; “@AtlasAirWW . . . CAN’T KEEP PILOTS? None will

stay with no new CBA.” Giant Comms also posted a photo of Amazon’s CEO asking, “Please

explain to me again why you don’t have enough pilots for my 20 new 767 freighter

conversions.” (Atlas Pilot Tweets, supra Paragraph 45.)

       92.     The January 19, 2017 Chairman’s Update told pilots the campaign was working:

“One thing that is very clear after the check airman meeting, is the effect our solidified union is

having on the process. We are truly ‘All In’ and they are really feeling it, which is plain for all

to see.” I have attached as Exhibit 42 a true and correct copy of a Chairman’s Update sent

January 19, 2017.

       93.     In a February 7, 2017 communication called “Catering Reminders,” the Union

encouraged pilots to blame catering as a basis for calling out fatigued:




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       The increasing number of crew reports have revealed sandwiches which tend to
       have varying degrees of edibility and hot meals that cannot even be identified, let
       alone consumed. . . A failure to provide crew meals in accordance with the CBA
       violates our labor agreement and may, in some cases, affect the safety of
       operations. Crew meals are required so that crew members can satisfy their
       nutritional needs during the duty day, which is an essential part of maintaining
       fitness for duty. As airline crew members YOU have the obligation per the FAA
       to be fit for duty. PRIOR TO BLOCKING OUT, ensure that the meals are
       contract compliant. Those who operate long legs and long duty days without
       proper nourishment or sufficient caloric intake, are potentially subject to low
       blood sugar levels, a recognized cause of pilot fatigue . . .

       A failure to provide crew meals in accordance with the CBA violates our labor
       agreement and may, in some cases, affect the safety of operations. Poor nutrition,
       including insufficient caloric intake, which can lead to low blood sugar levels, is a
       recognized cause of pilot fatigue. Under the FARs, pilots share responsibility for
       the safety of flight operations. All crewmembers must refrain from engaging in
       any careless or reckless actions.

I have attached as Exhibit 43 a true and correct copy of a communication titled “Catering

Reminders” sent by Local 1224’s Atlas Catering Committee via email to Atlas crew members on

February 7, 2017.

       94.     On February 10, 2017, in his Chairman’s Update, Captain Kirchner wrote:

“There is still plenty of fight in us and we will fight to the bitter end with every tool we can

muster and more. Since the company has taken the ‘gloves off’, we will do the same now and I

ask all of YOU to do the same. It is time to make every minute of every day count in the fight

against the tyranny that spews from Purchase, NY. Over the past two (2) years we have

developed into a very strong and cohesive group and we are all ready to take the fight to these

management players. We are a powerful union of friends, brothers, sisters and families and we

have evolved into a formidable force they cannot easily ignore or discard. We may very well be

fighting for the survival of Atlas and Southern. All In, Every Day!” I have attached as Exhibit

44 a true and correct copy of a Chairman’s Update sent February 10, 2017.




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       95.       On February 10, 2017, Giant Comms and Captain Griffith tweeted

“@AtlasAirWW SUING it’s now lowest paid pilots will only HALT & RUIN a successful

airline. PILOT LOSSES WILL RISE & NONE WILL HIRE ON!” (Atlas Pilot Tweets, supra

Paragraph 45.)

       96.       Various posts from February 10, 2017 on www.airlinepilotforums.com said:

       •         “Lastly and certainly not least, if you are coming to Atlas, please have your
                 financial house in order. Expecting to fly overtime to make up for training pay or
                 any previous financial shortcoming will be met by hostility from your peers.
                 There is zero tolerance toward pilots HOP-ers (pilots who Help Out Purchase, I.e.
                 headquarter.”

       •         “This is fatiguing”

       •         “Strong response is possibly in order?”

       •         “I hate HOPers.”

(Atlas Pilots Forum, supra Paragraph 47.)

       97.       In various posts from February 13, 2017 on www.airlinepilotforums.com, pilots

posted: “Pay your pilots more and negotiate section 6 like any airline with half a brain is doing!

Otherwise . . . burn the house down. We all have options these days” and “If Atlas isn’t careful,

the pilots will simply engage in an illegal action and just walk off the job for a few days which

will shut the place down for good.” (Atlas Pilots Forum, supra Paragraph 47.)

       98.       In the February 14, 2017 Chairman’s Update, Captain Kirchner asserted that the

Union was at “war” with Atlas:

       In today’s market environment, management may yet discover that they have
       started this War without ensuring that they have adequate supplies (pilots) to
       protect their home front (operations). Pilots are indisputably in great demand and
       there are many job opportunities in front of them with carriers that treat their
       employees fairly and respectfully. Faced with the certainty of long-contentious
       litigation and further posturing and brinksmanship by Purchase, many more pilots
       undoubtedly will leave in disgust with the situation here at Atlas Air . . . I applaud
       you for your perseverance in this War, but it is time to step it up. The union will
       never surrender in this War and will prevail. “All-In.”


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I have attached as Exhibit 45 a true and correct copy of a Chairman’s Update sent February 14,

2017.

        99.    Captain Kirchner sent another Chairman’s Message on February 16, 2017, this

time stating that he had resigned from his position as an Atlas check airmen, effective March 2,

2017. He framed his resignation in the context of criticizing management: “It is my opinion that

management would rather undermine and lower the entire pilot group’s ability to obtain

industry-standard wages and a better quality of life than face up to the fact that the industry will

not support or reward their chosen path forward.” He also attempted to reinforce the theme that

there is a pilot shortage at Atlas: “Many of these fine pilots that I have had the pleasure of

working with are leaving in increasing numbers, a fact which is very frustrating and has

contributed to my decision.” Captain Kirchner closed by encouraging pilots to be “ALL-IN!” A

“check airman” is a pilot “who is authorized and qualified to give FAA and/or Company

required checks and initial operating experience,” as defined by Section 2.J. of the Atlas CBA.

In other words, a check airman flies with another pilot who has undergone training to certify that

the pilot has met the necessary standards before being released from that training segment.

(Atlas CBA, supra Paragraph 24.) I have attached as Exhibit 46 a true and correct copy of a

Chairman’s Message sent February 16, 2017.

        100.   On February 23, 2017, Captain Griffith appeared in Air Cargo News. In the

context of discussing his dissatisfaction with the Atlas CBA, he said, “AAWW executives are

ignoring the fact that our airlines won’t be able to hire or retain enough pilots to meet the

growing appetites of our key customers like Amazon and DHL.” I have attached as Exhibit 47 a

true and correct copy of an article titled “Atlas Confident on Pilot Recruitment and Aircraft

Supply” published by Air Cargo News on February 23, 2017, available at




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http://www.aircargonews.net/news/airlines/single-view/news/atlas-confident-on-pilot-and-

aircraft-supply.html.

       101.    In the February 28, 2017 ATAM, the Union said, “Many of you have asked what

you can do to help achieve our needed outcome. Well, here it is. Don’t cut corners and don’t do

any other extra contractual favors for this management team. Even our flawed current contract

has provisions in it that protect you and restrict the Company from fulfilling its worst excesses.

Management is short staffed. And its operation is in deep trouble.” (Ex. 48 at 4:16-5:2.) I have

attached as Exhibit 48 a true and correct copy of a certified transcript of the ATAM podcast

released on February 28, 2017.

       102.    In the March 14, 2017 Chairman’s Update, Captain Kirchner again stated that

Atlas’ actions had “accelerated pilot attrition, and discouraged and repelled prospective crew

members from working at Atlas.” He closed with the following: “I am optimistic that those of

us that will be left here will prevail, but as I have said before, we must exert the maximum

pressure to fight this corporate anti-labor war that Atlas management has now declared on all of

us and our families. Actions speak volumes. It is up to you every day. All-In!” I have attached

as Exhibit 49 a true and correct copy of a Chairman’s Update sent March 14, 2017.

       103.    In the March 15, 2017 ATAM, the Union told pilots: “That’s where you,

choosing as an individual to act as a group of individuals moving as one to create solidarity that

gives your Union, our Union, the leverage it needs to go up against these people to either force

their hand to do the right things, or to negotiate the right thing if they ever get in the mood to

negotiate. So it’s time to redouble our efforts as individuals . . . By following your contract, by

doing what you’re scheduled to do these things will make us successful and bring us victory at




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the end of this road.” (Ex. 50 at 19:11-19:19, 20:3-6.) I have attached as Exhibit 50 a true and

correct copy of a certified transcript of the ATAM podcast released on March 15, 2017.

       104.    In the March 24, 2017 Chairman’s Update, the Union reported that “there is no

real positive movement toward a new CBA here” and that “good experienced pilots are leaving

in increasing accelerated numbers, all the while flight operations at Atlas are decaying and

failing daily,” while instructing pilots to “fly the CBA every day; it is working.” The Union

closed the email: “ALL-IN.” I have attached as Exhibit 51 a true and correct copy of a

Chairman’s Update sent March 24, 2017.

       105.    On March 24, 2017, Giant Comms tweeted: “Pilots will work if valued” and

“Learn the implications behind the term ‘Disincentivized workforce’.” (Atlas Pilot Tweets,

supra Paragraph 45.)

       106.    In the March 27, 2017 Chairman’s Update, the Union instructed pilots to “Keep it

up and fly the CBA every day. ‘ALL-IN.’” I have attached as Exhibit 52 a true and correct copy

of a Chairman’s Update sent March 27, 2017.

       g.      The Union Encouraged A Concerted Change To Status Quo Behavior In The
               Spring of 2017.

       107.    Similarly, the March 31, 2017 ATAM encouraged pilots to invoke the Atlas CBA,

i.e., to change their status quo behavior, and repeatedly mentioned how the Union’s ongoing

campaign was working:

       •       “Hold them accountable. Don’t give them a break or do them any favors. Hold
               them to their delineated responsibilities in the CBA and each LOA . . . Hold the
               line with solidarity in check with your Union, and even the most overwhelming
               enemy cannot hope to beat us. The prosperity of the markets and the finite supply
               of qualified available pilots, who choose not to stay at this pathetic excuse for an
               airline, coupled with Purchase’s own growth plans has put this timeline in our
               favor, not theirs. So hang on, everybody, as this labor dispute comes to a head.
               We’re seeing cracks in that finely polished veneer of businessmen and executives
               in Seattle; Florence, Kentucky; and yes, Purchase, New York. And we have only



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               had to SHOP and BOOT to make those cracks form and make our point.” (Ex. 53
               at 2:22-3:20.)

       •       “This whole thing would come to a screeching halt if some of your guys didn’t
               continue to help [Atlas] out.” (Id. at 6:20-22.)

       •       “But with the rest of us in solidarity with our Union, helping that person to come
               to the right decision that needs to be made because, let’s face it, a lot of these
               decisions can go either way, holding the line on a contract, making sure the
               contract is fulfilled, making sure that all of the myriad of regulations are complied
               with takes a team. And it takes a solidified force to make sure that we move
               safely and efficiently only when everything is ready and safe.” (Id. at 16:19-
               17:6.)

The Union also provided a specific example of how to fly the contract: “What we can do is, in

the CBA under Section 5.D.4, you get to dream big. You get to aim high. You get to find

suitable accommodations for your rest. So dream big on the Company’s dime and use CBA

5.D.4 like it’s supposed to be used. When the Company or one of its designated vendors, Hotel

Connections, violates your CBA and the requirements in it, you have options and tools at your

disposal. And the Company has nothing to say about it. It’s in the CBA. They signed it, you

use it, some guy once said.” (Id. at 11:20-12:8.) Section 5.D.4. of the Atlas CBA provides: “In

the event the Company fails to arrange for hotel accommodations as required under this

subsection 5.D., above, or fails to provide the Crewmember with confirmation no later than thirty

(30) minutes after block-in that such accommodations have been made, or the Crewmembers’

hotel room is not available within thirty (30) minutes after a Crewmember’s arrival at the hotel, a

Crewmember may obtain hotel accommodations that are consistent with the provisions of

subsection 5.D.1.a-g. . . .” (Atlas CBA, supra Paragraph 24.) I have attached as Exhibit 53 a

true and correct copy of a certified transcript of the ATAM podcast released on March 31, 2017.

       108.    On April 13, 2017, the Union sent a play-by-play for how to change status quo

behavior by strictly complying with the Atlas CBA, titled “April 2017 Steward News.” The

communication outlined “several items of which you should be aware” and identified numerous


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contract provisions and how to strictly follow them, even if doing so would be contrary to the

status quo required under the RLA. For example:

       Notification and schedule changes should be conducted in accordance with the
       CBA. The FCOM contains the only procedures you are required to follow, and
       you should follow them in their entirety. Your logbook should contain NO open
       write ups prior to start. Conduct a complete preflight. Have a full crew, in the
       seats. Perform ALL checklists, and don’t forget to check the catering. If at any
       time you feel the safety of the flight is compromised, CBA Section 26.R. contains
       protections to cover you. Don’t forget to call the company after you get back to
       your hotel room to start your rest period. Finally, if you experience any safety or
       FAA violations please use https://hotline.faa.gov or call 1-800-255-1111.

Section 26.R. of the Atlas CBA provides: “Nothing in this Agreement will be construed to

require a Crewmember to take any action if he reasonably believes that such action will result in

substantial and imminent risk of harm to the Crewmember or his equipment.” (Atlas CBA,

supra Paragraph 24.) I have attached as Exhibit 54 a true and correct copy of a communication

titled “April 2017 Steward News” sent by Local 1224’s Atlas Stewards via email to Atlas crew

members on April 13, 2017.

       109.    The April 14, 2017 ATAM again told pilots to fly safe while telling them that

their campaign was working: “Well, if you want to know the truth, Flight Operations is in such

disarray that it gets more chaotic by the day up here in headquarters. Trips are being canceled

because of a lack of crews. And the failures on the line are completely disastrous. You know, if

I was out there, I would tell you all, be careful with your loading and the dangerous hazmat

practices that you’re seeing on the line. You all need to pay attention and be careful out there.”

(Ex. 55 at 10:6-17.) I have attached as Exhibit 55 a true and correct copy of a certified transcript

of the ATAM podcast released on April 14, 2017.

       110.    In the April 18, 2017 Chairman’s Update, the Union complained about a lack of

“a serious proposal from the company that involves a fair path forward,” while misleading pilots

that “pilot attrition continues to rise and exceed all predictions” and encouraging pilots to


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“Remember everyday ‘Strict CBA Compliance’ is the message. Always be ‘All-In’.” I have

attached as Exhibit 56 a true and correct copy of a Chairman’s Update sent April 18, 2017.

       111.    On April 21, 2017, an Atlas Executive Council Message encouraged pilots to

slow down under the guise of safety. In the context of discussing “the situation on the Korean

peninsula,” the Union said, “Unfortunately, we are dealing with a company that has a rather

cavalier attitude when it comes to our safety. It seems that they only intend to react after an

event has occurred—an approach that does no good if a crew finds themselves in the wrong

place at the wrong time. We are working to hold the company accountable.” To protect itself,

the Union also admonished members for putting “[f]ake scab lists . . . on some of our aircraft,”

while in the same breath noting that “there may be a time and place to hold people accountable

for their actions” and stating, “Remember, always enforce the CBA and always be All-In.” I

have attached as Exhibit 57 a true and correct copy of a communication titled “Atlas Executive

Council Message” sent by Local 1224’s Atlas ExCo via email to Atlas crew members on April

21, 2017.

       112.    On April 28, 2017, a Giant Comms tweet announcing the release of the next

ATAM said: “The next ATAM is released! Use your vacation, learn about SCABS and our next

PICKETING!” (Atlas Pilot Tweets, supra Paragraph 45.)

       113.    In the May 15, 2017 ATAM, the Union said: “I’m not even going to go into the

favors some of you out there continue to do to make a buck now instead of pulling on the rope

with the rest of us to make even better money tomorrow via a new and industry standard CBA

. . . The group that votes to follow the CBA and not their individual wallets is a good one.” (Ex.

58 at 17:15-19, 18:4-5.) I have attached as Exhibit 58 a true and correct copy of a certified

transcript of the ATAM podcast released on May 15, 2017.




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       114.    On May 20, 2017, Giant Comms re-tweeted a tweet from Captain Griffith that

said: “New planes and customers! But, WITHOUT PILOTS to fly, any ‘wins’ from

@AtlasAirWW BUSINESSMEN are moot. #1u #FUPM @JeffBezos #PrimeAir FAIL!” The

next day, Giant Comms re-tweeted another tweet that said: “Even stop volunteering to pick up

trips and for overtime. Makes it tough a real PITA, when staffing depends on continued

volunteerism.” (Atlas Pilot Tweets, supra Paragraph 45.)

       115.    In the May 23, 2017 ExCo Update, the Union expressly told pilots to call out

fatigued: “At the heart of the problem is that Atlas simply can’t retain pilots. As a result, they

fall into a reoccurring pattern of always being short and having to add more flying to lines thus

reducing needed rest. Meanwhile, management naively wonders why fatigue calls are up.

Remember, your union stands behind you and we are your line of defense against any sort of

harassment or intimidation relating to fatigue or any other issue. Do not endanger your life, the

life of your fellow crew members or the public by allowing the company to push you into flying

fatigued.” The communication closed with the standard “Always - ALL IN.” I have attached as

Exhibit 59 a true and correct copy of a communication titled “ExCo Update” sent by Local

1224’s Atlas ExCo via email to Atlas crew members on May 23, 2017.

       116.    The May 2017 Negotiations Update, sent by the Negotiating Committee on May

25, 2017, told pilots they need their support “more than ever. Stay safe, stay unified, ALL IN!”

I have attached as Exhibit 60 a true and correct copy of a communication titled “May 2017

Negotiations Update” sent by Local 1224’s Negotiating Committee via email to Atlas crew

members on May 25, 2017.

       117.    In the May 31, 2017 ATAM, the Union told pilots: “Thank you for each of your

individual contributions and solidarity, and following the CBA in your daily pursuits. We will




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prevail. And we will have each other to credit for it as our final result. Your EXCO asks you to

continue to be all in each and every day.” (Ex. 61 at 6:9-14.) I have attached as Exhibit 61 a

true and correct copy of a certified transcript of the ATAM podcast released on May 31, 2017.

       h.      The Union Pushed Pilots To Increase The Slowdown Campaign’s Intensity For
               The Second Half of 2017.

       118.    In the June 15, 2017 ATAM, the Union again blamed management for the

disruptions actually being caused by concerted pilot action: “We are close to losing several [of

Atlas’s customer] contracts due to poor performance . . . The Company is using made up facts to

deflect the anger of the military due to the myriad of delays and outright cancellation of flights.

Everyone here at headquarters knows the problems are due to mismanagement and lack of

adequate staffing to support the crews on the road and the pilot shortage.” (Ex. 62 at 6:5-6, 8:9-

15.) I have attached as Exhibit 62 a true and correct copy of a certified transcript of the ATAM

podcast released on June 15, 2017.

       119.    In the June 23, 2017 Chairman’s Update, the Union was as explicit as it had ever

been in encouraging a slowdown:

       Finally, let me talk about the company’s strategy of trying to wear you out. Atlas
       Executives believe that if they delay a new CBA long enough, you will lose your
       interest and your resolve and start violating the CBA, cutting corners and resign
       yourselves to the status quo and abandon our quest for an industry-leading CBA.
       This cannot be allowed to be the case! YOU must SHOP, BOOT and push back
       on their tactics harder than ever as we are starting to get the movement we desire.
       We are getting into the busy season during the second half of the year and it is
       now more important than ever to stay strong with your SOLIDARITY. YOU
       must not only honor the CBA every day and on every flight, but also hold
       management accountable. Be wary, as the company is more and more often
       cutting corners in all areas of their operation to make flights go. The shortage of
       pilots is increasingly creating serious safety, scheduling and rest issues. NEVER
       risk yourselves, your crew, your passengers or a violation on your license due to
       their lack of planning or self-inflicted problems.

       Be ALL-IN every day.




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I have attached as Exhibit 63 a true and correct copy of a Chairman’s Update sent June

23, 2017.

       120.      On June 29, 2017, Giant Comms retweeted a tweet from Captain Griffith that

said, “@AtlasAirWW at critical mass for pilots; more than 3 uncovered trips per day = monthly

record. June NOT OVER. Failing BUSINESSMEN. #1u #FUPM.” (Atlas Pilot Tweets, supra

Paragraph 45.)

       121.      The following day, in the June 30, 2017 ATAM, the Union again called on all

pilots to “SHOP, BOOT, and push back on all [of the Atlas’] tactics harder than ever, as [they]

are starting to get the movement out of [Atlas] [they] desire.” (Ex. 64 at 4:1-3.) The Union went

on to say: “We are getting into the busy season during the second half of the year. And it is now

more important than ever to stay strong with your solidarity. You must not only honor the CBA

every day and on every flight, but also hold management accountable.” (Id. at 4:4-9.) The

ATAM ends by saying: “Know this, we will not be defeated. And we will not go quietly. Not

until we get that contract we need. Until then, you can plan on more picketing with customers.

You can plan on more ATAMs. You can plan on more blast mails. You can plan on more media

coverage.” (Id. at 19:5-10.) I have attached as Exhibit 64 a true and correct copy of a certified

transcript of the ATAM podcast released on June 30, 2017.

       122.      On July 1, 2017, the Giant Comms Twitter account referred to the December

2016 campaign and encouraged continued action against Amazon: “Holidays w/o @amazon?

Try #PrimeDay w/o #PrimeAir! @ATSGinc & @AtlasAirWW test limits on PILOT

SHORTAGE! #1 #FUPM.” (Atlas Pilot Tweets, supra Paragraph 45.)

       123.      On July 5, 2017, Giant Comms began a July Twitter campaign encouraging pilots

to call out fatigued/sick and then not respond to Atlas’ increased calls for open time flying and




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reporting on that campaign. Giant Coms tweeted: “@AtlasAirWW Open Time trip 25!

Maintaining rate of 5 trips per day UNMANNED due to lack of PILOTS WHO ARE BEING

SUED! CBA NOW! #1u #FUPM.” The tweet included the image of a dumpster on fire labeled

“2017.” (Atlas Pilot Tweets, supra Paragraph 45.)

       124.    In the July 6, 2017 Chairman’s Update, the Union wrote: “We do need all of your

help now more than ever. We ALL need to enforce the CBA everyday as a solid unified group if

we hope to achieve the overdue CBA we deserve . . . Now more than ever, be ALL IN!” I have

attached as Exhibit 65 a true and correct copy of a Chairman’s Update sent July 6, 2017.

       125.    On July 6, 2017, the Union issued a press release warning the public that

Amazon’s Prime Day was at risk due to Amazon’s relationship with cargo carriers, such as

Atlas, because of “extensive delays in union contract negotiations and years of substandard pay

[that] continue to fuel problems at Prime Air’s contractors, including staffing, attrition and

recruitment issues at AAWW. In a recent survey of Atlas pilots, 65 percent of surveyed pilots

said they were planning to apply to another airline in the coming year. Many are looking to

FedEx and UPS, major delivery companies that offer competitive benefit and pay packages, and

that Amazon is relying on less and less for its Prime Air business.” I have attached as Exhibit 66

a true and correct copy of a press release titled “Teamsters Local 1224: Amazon Prime

Customers to Hear About Risks to Delivery Service Ahead of ‘Prime Day’” issued by the Union

on July 6, 2017, available at http://www.prnewswire.com/news-releases/teamsters-local-1224-

amazon-prime-customers-to-hear-about-risks-to-delivery-service-ahead-of-prime-day-

300484182.html#.

       126.    On July 6, 2017, Giant Comms also tweeted: “#PrimeDay delays on #PrimeAir

by @AtlasAirWW & @ATSGinc? TELL @amazon & @JeffBezos: PILOT CONTRACTS




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NOW! #1u #FUPM.” The tweet referred pilots to a website, canamazondeliver.com, which

encourages customers to place pressure on Amazon to in turn place pressure on Atlas to accede

in collective bargaining negotiations: “At this rate, there soon may not be enough pilots to get

the job done for Amazon and deliver for customers . . . What can you do to prevent this from

happening? Give one star for Amazon Prime Air and tell Amazon executives to make sure its

contracted pilots have a fair contract to ensure stability and that there are enough qualified pilots

to get the job done.” (Atlas Pilot Tweets, supra Paragraph 45.) I have attached as Exhibit 67 a

true and correct copy of a webpage titled “Can Amazon Deliver? | The Truth About Prime Air”

captured on December 19, 2016, available at http://canamazondeliver.com.

       127.    On July 9, 2017, a pilot posted in www.airlinepilotforums.com: “My opinion is

that the company will not give us anything. We will have to take it from them and that will only

happen when the planes stop moving.” The next day another pilot posted: “I agree with this

statement.” A couple of days later on July 12, 2017, another pilot posted, “And yet we have

dozens of idiots willing to help out Purchase . . . .” (Atlas Pilots Forum, supra Paragraph 47.)

       128.    On July 10-11, 2017, Giant Comms tweeted a series of additional tweets

emphasizing this same message: “#PrimeDay2017 @amazon risky by using @AtlasAirWW &

@ATSGinc vendors for #PrimeAir. PILOTS NEED CONTRACT. #1u #FUPM CAN

AMAZONDELIVER.COM”; “Good morning! Please check out how #PrimeDay2017 could

have problems on #PrimeAir 4 @amazon & @JeffBezos #1u #FUPM CAN

AMAZONDELIVER.COM”; Posting a tweet from Amazon that says “Today is Prime Day!”

and stating that Game of Thrones is available on Amazon, “You might be waiting on that. . .

#FUPM CAN AMAZONDELIVER.COM.” Griffith also tweeted “It spells BAD NEWS for

@amazon #PrimeDay2017 customers. @AtlasAirWW & @ATSGinc vendors STRETCHED 2




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LIMIT. #1u #FUPM CANAMAZONDELIVER.COM.” (Atlas Pilot Tweets, supra Paragraph

45.)

       129.    In the July 14, 2017 ATAM, the Union touted its success in slowing down Atlas’

operations by saying these actions are what brought the Company to the negotiations table. (Ex.

68 at 1:11:15.) The ATAM said: “[Y]our participation in the BOOT and SHOP initiatives have

shown that they’re [sic] planning and execution is so poor that being held to following the CBA,

which they agreed to, creates a complete debacle as an airline.” (Id. at 2:20-3:2.) It goes on to

call for picketing on the steps of one of Atlas’ customers and ends by reminding pilots to

“adher[e] to the FARS, the CBA, BOOT, [and] SHOP.” (Id. at 17:1-2.) I have attached as

Exhibit 68 a true and correct copy of a certified transcript of the ATAM podcast released on July

14, 2017.

       130.    From July 17 through July 29, 2017, Giant Comms issued a barrage of a dozen

tweets as part of its July campaign:

       •       “The @AtlasAirWW dumpster fire burning WHITE HOT now as Open Time trip
               number passes 70 for July. Trips missing pilots: 4 PER DAY! #1u #FUPM”
               (with the image of the burning dumpster labeled “2017”);

       •       “This contract [referring to another carrier’s contract] once belonged to
               @AtlasAirWW when they weren’t SUING PILOTS! Open Time 74 for the
               month! BUSINESSMEN FAILING! #1u #FUPM”;

       •       “Belonged to @AtlasAirWW when not SUING IT’S PILOTS! Understaffed =
               Losing Markets. BUSINESSMEN FAILING! #1u #FUPM”;

       •       “@amazon @JeffBezos @DHLUS Undermanned @AtlasAirWW can’t serve
               THEM, imagine the effect on YOUR Flt Ops as record #’s pilot quit. #1u
               #FUPM”;

       •       “Now is the time! Do YOUR part and support our @Teamsters Union. BOOT,
               SHOP & follow the agreed upon CBA with @AtlasAirWW #1u #FUPM” (with
               the image of a stop sign with the word “SHOP” instead of “STOP”);




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       •       “Open Time trips passing 90! DUMPSTER FIRE RAGES ON! YOUR part
               supports OUR Union through BOOT, SHOP & follow the CBA! @AtlasAirWW
               #1u #FUPM” (with the image of the burning dumpster labeled “2017”);

       •       “@JeffBezos @DHLUS @amazon #PrimeAir, 90 @AtlasAirWW Open Trips
               w/o PILOTS ! @Teamsters warn: WITHOUT PILOTS, NO AIRLINE CAN
               WORK! #1u #FUPM”;

       •       “90 Open Trips w/o PILOTS! Do YOUR part and support OUR @Teamsters
               Union. BOOT, SHOP & follow the agreed upon CBA with @AtlasAirWW #1u
               #FUPM” (with the image of a stop sign with the word “SHOP” instead of
               “STOP”);

       •       “RAGING DUMPSTER FIRE HOTTER: @AtlasAirWW LOST
               ARBITRATION TO @TEAMSTERS PILOTS & OPEN TIME TRIP 108 ON
               THE STREET! 3 DAYS TO AUG! #1U #FUPM” (with the image of the
               burning dumpster labeled “2017”);

       •       “MOTHER OF ALL DUMPSTER FIRES: @AtlasAirWW Open Time count
               NOW 110 for record in one month! @JeffBezos & @DHLUS, your pilots gone!
               #1u #FUPM”;

       •       “WEEKEND; the adults go home. @AtlasAirWW has three day transition to
               Aug w/112 Open Time trips w/o pilots. How high can it go? [A reference to the
               attached picture of a fire in a dumpster.] #1u #FUPM”;

       •       “As @AtlasAirWW issues RECORD OPEN TIME TRIP 116, pilots are tired,
               aircraft are getting later and customers are becoming angered. #1u #FUPM”
               (with an image of a fireman (labeled “BUSINESS MEN”) spraying a burning
               dumpster (labeled “PURCHASE”) with a hose (with the water labeled “JET
               FUEL”)).

(Atlas Pilot Tweets, supra Paragraph 45.)

       131.    In the July 28, 2017 Chairman’s Update, the Union directed pilots not to go on

“self-imposed” reserve and walked them through the process for ensuring they do not

“unwittingly turn themselves into reserve crew members.” The message reminded them to

continue filling out maintenance reports, not accept inadequate or missing catering, and

“[e]nforce the CBA in its totality and hold the company to it.” The message ended by reminding

the pilots to be “ALL-IN.” I have attached as Exhibit 69 a true and correct copy of a Chairman’s

Update sent July 28, 2017.


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       132.      On July 29, 2017, Giant Comms retweeted a news post about Spirit Airlines’

share price declining as a result of its pilot slowdown. (Atlas Pilot Tweets, supra Paragraph 45.)

       133.      In the July 31, 2017 ATAM, the Union expressly touted its July campaign

encouraging pilots to call out and then not respond to Atlas’ increased calls for open time flying:

“I’m on my 19th year at Atlas. And I have never ever, ever seen so many uncovered trips. July

isn’t even over yet. And as I’m recording this ATAM, we are past open time trip number 106.”

(Ex. 70 at 1:13-16.) The Union also said: “We’re on a danger zone that could possibly cause us

to not only continue to lose pilots, but now also to start to lose customers. And are there

competitors out there that have their operations clearly organized in one sock. Oh yes, they do.

They also have CBAs with their pilots. Their pilots are more than happy to do the extra things it

takes to make an airline run in the myriad of operational things that happen to make a flight go.”

(Id at 4:10-19.) The Union also gave a “refresher on contactability” and gave pilots a play by

play on how to avoid communications from Atlas. (Id. at 15:21-19:10.) The ATAM closed:

“Remember, know your CBA. Follow your CBA. BOOT, SHOP, support your EXCO and

negotiation teams, especially when you’re dealing with management and they want to talk to you

about things like what are your thoughts on a new contract.” (Id. at 19:11-15.) I have attached

as Exhibit 70 a true and correct copy of a certified transcript of the ATAM podcast released on

July 31, 2017.

       134.      On July 31, 2017, a reserve pilot was assigned an open time flight. The reserve

pilot, copying stewards@apa1224, emailed Crew Scheduling to ask it to withdraw the message

attached to the trip he was assigned because it made it look as if he had voluntarily accepted

open time flying, which “ma[de] [him] out to be a scab to [his] union members by helping out

the company and cheating [his] union brothers and sisters out of a new and fair contract.” I have




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attached as Exhibit 71 a true and correct copy of an email sent July 31, 2017 from a reserve pilot

to *HDQ Crew Scheduling.

       135.    On August 1, 2017, Giant Comms tweeted a photo of a pilot holding a sign that

read, “CAN AMAZON DELIVER? FAIR CONTRACT NOW.” The corresponding tweet said,

“KNOCK! KNOCK! We are out front @JeffBezos, come meet the @AtlasAirWW @Teamsters

#PrimeAir pilots making you BILLIONS! Problems DAY ONE! #1u.” (Atlas Pilot Tweets,

supra Paragraph 45.)

       136.    In the August 4, 2017 Chairman’s Update, the Union pushed pilots to continue

their slowdown campaign. First, the Union reminded pilots of the effectiveness of the campaign

on Atlas’ relationship with Amazon and alluded to the fact that the slowdown campaign would

ramp up as the peak holiday season approached: “More to come on this subject later this fall.”

Second, the Union encouraged pilots to call in fatigued: “Rather than address the ever-growing

serious maintenance issues, the fact remains that scheduling is constantly pushing crews into

dangerous situations, including fatigue violations, and chief pilots are threatening and badgering

crews to cut corners. The stress pilots are under, due to constant CBA violations by flight

operations and the safety situations that we are exposed to daily, is unacceptable.” Third, the

Union continued to encourage pilots to change their status quo behavior with respect to catering:

       Another safety issue which has recently cropped up is catering. It is no secret that
       this company cannot manage its vendors, specifically catering vendors.
       Attempting to browbeat and harass crew members into going without CBA-
       required catering and ignoring the physiological needs of the flight crew members
       in general is not a solution. Remember, your union leadership and our attorneys
       stand behind you. Know and enforce the catering provisions of the CBA, you are
       on firm ground and we will back you. Don’t be bullied!

The Chairman’s Update closed with an express directive to “fly the contract” (i.e., change status

quo behavior): “Remember your contractual contactibility rules and use them to the max to




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protect yourselves and to get a better quality of life . . . Now more than ever be ‘ALL-IN.’” I

have attached as Exhibit 72 a true and correct copy of a Chairman’s Update sent August 4, 2017.

       137.    On August 15, 2017, the Union sent pilots a handbook for how to fly the contract,

entitled “Your TOP 10 CBA References for August.” The communication expressly said that

pilots should “improve [their] quality of life” as Atlas moves into its “busy season.” The

communication stated, “Your leadership asks that in preparation for what’s to come you take the

time to build on your understanding of these areas of our contract. It would go a long way

towards improving your quality of life and supporting our ultimate goal of securing an industry-

leading contract.” The communication stated that “CBA Sections 12, 25 and 31 are extremely

important,” and then went on to quote from these sections. Not coincidentally, these sections,

which cover issues like pilot rest/fatigue, contactability, and sick calls, correspond precisely with

the ways in which pilots are slowing down. I have attached as Exhibit 73 a true and correct copy

of a communication titled “Your TOP 10 CBA References for August” sent by Local 1224’s

Atlas Stewards via email to Atlas crew members on August 15, 2017.

       138.    On August 17, 2017, Giant Comms tweeted that Atlas was not a finalist for the

“Freighters World Awards,” because Atlas “[o]nce great” is “now without motivated pilots to

make the work happen.” (Atlas Pilot Tweets, supra Paragraph 45.)

       139.    On August 23, 2017, the Union sent a reminder to pilots “to check your CBA and

FAR restrictions closely, and do not grant any leeway in the egregious violations that are

occurring. Defend your CBA and protect your license and career . . . Fly Safe!” I have attached

as Exhibit 74 a true and correct copy of a communication titled “New Hire Schedulers” sent by

Local 1224’s ExCo Vice Chairman via email to Atlas crew members on August 23, 2017.




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        140.    On August 24, 2017, Giant Comms tweeted: “ENFORCE THE CBA, SHOP &

BOOT! IT’S WORKING! #1U #FUPM.” The tweet included a photo of a stop sign that said

“SHOP” instead of “STOP.” (Atlas Pilot Tweets, supra Paragraph 45.)

        141.    On August 31, 2017, Giant Comms tweeted a picture of a dumpster on fire and

wrote: “As @AtlasAirWW OPEN TIME PASSES 100 UNCOVERED TRIPS for the SECOND

MONTH in a row, THE RAGING DUMPSTER FIRE OF DENIAL GOES ON! #1u #FUPM.”

The next day, on September 1, 2017, Giant Comms launched its September count, tweeting: “So

the currently rate for September is 5 per day . . . should be an interesting month for

@AtlasAirWW! #1u #FUPM.” (Atlas Pilot Tweets, supra Paragraph 45.)

        142.    An August 31, 2017 ATAM encouraged ramping up various forms of job actions:

“You see how SHOP is working. You see how BOOT is working . . . Now is not the time to let

up on the accelerator or pressure on them to follow the CBA.” (Ex. 75 at 20:19-21:4.) The

communication directed pilots to increase maintenance writes ups (“Do not accept shoddy

maintenance. Do not carry writeups from station to station. Be safe. Don’t fly with inadequate

or ill prepared equipment. And hold the line.”) (Id at 18:12-15), and reject catering (“Catering is

continuing to deteriorate. Reject it if it’s inadequate. Reject it if it’s not fresh. Reject it if it’s

not enough. Order more.”) (Id at 19:13-17). The Union also threatened that pilots would harm

Atlas during the peak fourth quarter if rumors that the Company would not put “real money” into

the CBA during upcoming contract negotiations are accurate. Specifically, Captain Griffith said,

“Well, as a pilot crew member, I can honestly say this will not be good for their fourth quarter, if

this is true.” (Id at 6:7-15.) I have attached as Exhibit 75 a true and correct copy of a certified

transcript of the ATAM podcast released on August 31, 2017.




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       143.      On September 7, 2017, the Union’s “Stewards of Atlas” sent a communication

encouraging pilots to call out sick or fatigued, stating: “As we find ourselves in the midst of a

period of increased friction and hostility, we remind everyone to make absolutely certain that

you are fit for duty each and every time you report to work. Please, do not fly sick or fatigued.

All In, Every Day.” I have attached as Exhibit 76 a true and correct copy of a communication

titled “CLT-RC” sent by Local 1224’s Atlas Stewards via email to Atlas crew members on

September 7, 2017.

       144.      On the same day, as part of its September Twitter campaign, Giant Comms

tweeted another photo of a dumpster on fire, stating: “Open Time Trip 35 for the first 7 days of

September, makes 5 times per day @AtlasAirWW has no pilots to fly known trips. CBA NOW!

#1u #FUPM.” (Atlas Pilot Tweets, supra Paragraph 45.)

       145.      The Union’s message continues to be effective. On September 9, 2017, a pilot

posted on the www.airlinepilotforums.com that “as long as planes are moving, then that means

longer negotiating. Years to go . . . I’m trying to do my part .” (Atlas Pilots Forum, supra

Paragraph 47.)

       146.      On September 10, 2017, on www.airlinepilotforums.com, one pilot wrote:

       I’ll use simple words because you seem to have trouble grasping the subtle
       messages from the union, you know, the ATAM’s, the chairman’s messages, the
       P2P messages, the emails, etc., etc. BOOT means Block Out On Time. This takes
       away any advantage the company may get by aircraft departing early. SHOP
       means Stop Helping Out Purchase (Purchase, New York is where Atlas HQ is).
       Then there is a grassroots movement to educate pilots about what a poor decision
       outbasing is because you are flying 31 days in a row with only the minimum legal
       breaks for straight pay. No premium pay there. You are, literally doing the work
       of two pilots in one month. There is also the grassroots movement to educate
       pilots about picking up open time trips which also serves to help management by
       reducing their staffing problems . . . All of these union and pilot group initiatives
       are designed to bring pressure on the company to actively perform at the
       negotiating table.




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The next day, another pilot wrote that “I also do my part with BOOTing and SHOPing.” (Atlas

Pilots Forum, supra Paragraph 47.)

        147.   The September 12, 2017 Chairman’s Update explicitly informed pilots that their

campaign was effective and encouraged them to further slow down:

        The delays on a daily basis are more the norm than the exception. Long gone are
        the days when Atlas was able to boast about its on-time performance. Operational
        problems are becoming more and more commonplace. We see the company
        chartering corporate jets and using empty B-767s to position pilots. We see more
        maintenance delays. We see sub-standard maintenance incurring FAA
        violations. Seemingly, the only way the company can limp along is by daily
        violating our CBA, resulting in a mounting number of grievances being filed over
        contractual violations. Even the FARs are no longer held sacred. All of these
        problems contribute to low customer satisfaction and a loss of standing in the
        airline community. The crisis that Atlas Air has become is sad to watch.
        Moreover, it would have been preventable, had the company chosen to do
        business with the pilots in an honest and forthright manner, rather than inflaming
        anger among our crews by instituting a string of stall tactics.

        Now for the good news. We are now one of the most cohesive and well-educated
        pilot groups in the airline industry and literally the envy of most of the players.
        We enforce our CBA in a manner that legacy Atlas or Polar management has
        never seen before and they are frankly stunned by it. Our unity, camaraderie and
        team spirit both within our pilot group and throughout our union’s organization
        are unmatched. By working together, we provide leverage to our leaders that will
        win us this fight for industry wages and benefits! . . .

        I thank each of you and ask all of you, as usual, to keep it up and keep the
        pressure on as management struggles in the snare of their own making. Their
        self-induced attrition, combined with your enforcement of the CBA, are the keys
        in not letting this injustice continue; doing favors and cutting corners only enables
        the same pattern. The only way to effect change is to hold the line every day.
        Remember, “never waive any part of the CBA” and “never do them any favors”.
        As you all too well know, they are not giving us any waivers and most certainly
        are not doing us any favors these days.

        The message closed asking pilots to be “All-In.”

I have attached as Exhibit 77 a true and correct copy of a Chairman’s Update sent September 12,

2017.




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       148.    In mid-September 2017, pilots on www.airpilotsforum.com discussed what it

means to effectively “SHOP” (i.e., Stop Helping Out Purchase). As one pilot explained on

September 12, 2017: “The fundamental spirit behind SHOPing is that you make the company do

their job; you do NOT lighten up their load even if there’s a clear advantage to YOURSELF. To

the contrary, sometimes sticking it to the company has a direct DETRIMENT to your quality of

life. This is called: Taking One For the Team. AKA: Short Term Pain For Long Term Gain.”.

(Atlas Pilots Forum, supra Paragraph 47.)

       149.    On September 15, 2017, Giant Comms continued its September Twitter

campaign, tweeting account a picture of a dumpster on fire and wrote “@AtlasAirWW OPEN

TIME #91 on Sept 15 = more than 6 trips per day WITHOUT PILOTS to fly them! . . . CBA

NOW! #1u #FUPM.” Captain Griffith retweeted this post, adding the Twitter handles of DHL,

Amazon, and Jeff Bezos, and writing “Reserves running low and your operations are in

jeopardy. @AtlasAirWW pilots need new CBA NOW! #1u #FUPM.” He then retweeted the

message again, noting “the [open time] rate was 3 per day over the last two months; nose dive

accelerating. (Atlas Pilot Tweets, supra Paragraph 45.)

       150.    In the September 15, 2017 ATAM, the Union directly and repeatedly threatened

Atlas’ fourth quarter:

       The pilot shortage has left [Atlas] with very few options. They can’t [] now meet
       their reserve requirements with their customers and are planning on asking their
       customers for relief. You know, the important ones, Amazon, DHL, FedEx are
       starting to get very worried about what is going to happen during the busy season
       ...

       Well, it looks to me like [Atlas] should make negotiating a new CBA their first
       priority, and start to smooth things out for themselves and their customers . . . I
       just heard the top guys have told the Company negotiators they’re not allowed to
       sign off on anything that involves money on anything related to the pilots. They
       have been told to string things along to keep line pilots happy and, you know, just
       get them through the fourth quarter. They think the pressure will be off after that,
       and then they can delay the pilots even further, until they get tired and, you know,


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       eventually give in . . . [T]hat would be a bad strategy because, I’ll tell you what,
       from what I have seen on the line and talking to the pilots, they’re fed up. And if
       a CBA doesn’t come soon, fourth quarter is not going to be a happy time . . .

       Without a CBA for fourth quarter and with currently uncovered trip rate now at
       more than six flights per day in open time . . . I truly wonder how this Company
       will make it through fourth quarter with any customers left to support . . . .

(Ex. 78 at 7:8-14, 8:20-9:18, 19:19-20:6.) I have attached as Exhibit 78 a true and correct copy

of a certified transcript of the ATAM podcast released on September 15, 2017.

       151.    The September 18, 2017 Chairman’s Update continued to push pilots to change

their status quo behavior: “‘No waivers and no favors’ is the clear and unmistakable rule we

must adhere to now more than ever. ‘SUCCESS’ will come through hard work and the

perseverance to follow through. As you strictly enforce our CBA, always remember, with us,

‘You Never Walk Alone.’ The ExCo, Stewards and entire union stand ready to fight and protect

your rights and your determination to enforce the CBA. It is ALL up to US to make it Happen.

You Never Walk Alone in this Union! ALL-IN.” I have attached as Exhibit 79 a true and

correct copy of a Chairman’s Update sent September 18, 2017.

       152.    The next day, on September 19, 2017, Giant Comms launched a Twitter tirade,

tweeting:

       •       “ATTENTION @DHLUS @amazon #PrimeAir @JeffBezos: Check vendors
               @AtlasAirWW & @ATSGinc and ask about required reserve pilots, NOW. #1u
               #FUPM”

       •       “Secret’s out, @AtlasAirWW @ATSGinc @DHLUS & @JeffBezos @amazon!
               Want to capitalize? CBA NOW TO STOP PILOT LOSSES AND SHORTAGE.
               #1u #FUPM”

       •       “@AtlasAirWW at Open Trip 116 on the 19th day of Sept. Two previous months
               were 3/day; NOW, 6 TRIPS/DAY WITHOUT PILOTS! CBA NOW! #1u
               #FUPM”

       •       “Now offering OPEN TIME TRIP 117 . . . we will keep all stations advised
               today.”



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         •       “Now offering OPEN TIME TRIP 118 missing TWO pilots. #1u #FUPM”

The Union continued its September campaign on September 22, 2017, tweeting: “Open Time

Trip #135 for a pilot needed ASAP! BUSINESSMEN FAILING DAILY!” (Atlas Pilot Tweets,

supra Paragraph 45.)

         i.      Other Pilots Have Recognized And Communicated To Atlas That The Union’s
                 Campaign Is A Slowdown.

         153.    Many Atlas pilots have recognized the Union’s campaign for exactly what it is

and have complained to Atlas—including about threats of intimidation and harassment of those

who refuse to acquiesce in the slowdown activity. On May 9, 2016, for example, an Atlas pilot

sent the following email to Atlas’ Chief Pilot:

         Captain Welty, I am sending you this email in response to our conversation
         yesterday. It has become increasingly difficult for me to do my job effectively and
         efficiently with the intimidation and threats from some of my union brothers and
         sisters. I am not sure if you are aware of the “BOOT” program that is being
         promoted by the union. BOOT stands for block out on time. We are being told
         that we should not release the brakes until scheduled block out time even if we are
         ready to leave before. There is also the “SHOP” program (Stop helping out
         Purchase). We are being told that this is going to put pressure on the company to
         negotiate a contract quickly. I not only do not think that this is going to have any
         effect whatsoever on contract negotiations, but it is keeping me from getting my
         ship, crew and freight on the way as soon as I can. Both Captain’s
         and               are threatening to release names on the Atlas Air GC comms web
         site of those that leave before scheduled block time. Captain                      is
         intimidating crewmembers directly in the DHL facility in CVG with the same
         rhetoric. All I want to do is fly my trips and enjoy my time off. I came here to fly
         airplanes not play games like children in the playground.

I have attached as Exhibit 80 a true and correct copy of an email sent May 9, 2016 from a pilot to

Atlas Chief Pilot Scott Welty.2

         154.    A few weeks later, on January 29, 2017, another Atlas pilot sent the following

email to Atlas’ Senior Director Flying, System Chief Pilot: “There is a lot of ignorance going on



2
    Personal identifying information is redacted throughout this document.


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and it sucks all the fun out of the job. I wanted to share what was on the plane today when I

picked it up . . . A copy was left in the cockpit and another copy in the right crew bunk magazine

holder . . . Hoping for better times here at Atlas.” The pilot attached a document entitled, “THIS

IS THE US MASTER PILOT SCABLIST,” which criticized check airmen for doing their jobs:

“Check Airmen are notorious to be greedy and selfish . . . CHECK AIRMEN IS A

VOLUNTEER POSITION.” The document encouraged others to “add to the list, so our

Brothers and Sisters know which individuals are ALL IN.” The attached list provided details of

pilots who had taken outbase and voluntary assignments with a string of dollar signs next to their

names. CBA Section 25.Q provides that a pilot may “out-base” (i.e., be stationed as a reserve for

a month at the station of Atlas’ choosing). (Atlas CBA, supra Paragraph 24.) I have attached as

Exhibit 81 a true and correct copy of an email and attachment sent January 29, 2017 from a pilot

to Atlas Senior Director Flying, System Chief Pilot, Ray DuFour.

       155.    On February 28, 2017, another Atlas pilot sent the list to a Chief Pilot again. This

time, the list was dated January 1, 2017, and was a comprehensive list of pilots who had taken

outbase and voluntary assignments for October, November, and December 2016. The list was

very detailed and included not only the pilots’ names but what flying they did and when. Again,

there were dollar signs next to their names that appear to correspond with how much work the

pilot did. I have attached as Exhibit 82 a true and correct copy of an email and attachment sent

February 28, 2017 from a pilot to Atlas Chief Pilot Scott Welty.

       156.    On June 22, 2017, an Atlas pilot wrote an email to Atlas management about

slowdown instructions that the Union provided at a recent meeting: “These were your pilots

talking about creat[ing] strikes, shutting down terminals and the intentions of bring in the

Teamsters to intimidate company management. They talked in detail about the plot(s) to break




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arms, stalk houses and what all the teamsters would do, to accomplish the goals they wanted . . .

The oldest of the group, talked [in] [d]etail how they could easily shutdown one of your

terminals (deluging with small issues), then they discussed starting a phone list to prevent your

company to reach out and get a pilot for coverage after one calls off.” I have attached as Exhibit

83 a true and correct copy of an email sent June 22, 2017 from a pilot to a representative of Atlas

management.

       157.    Pilots also complained to Atlas that other pilots were sending them harassing text

messages and asked the Company to stop the harassment. One pilot received a text from another

pilot of an image of a list of pilots who took outbase and voluntary assignments with notations

besides their names, including “SCAB!” The text questioned the pilot’s willingness to be a team

player and comply with the CBA during negotiations. The text also called the pilot a scab. The

pilot asked for Atlas’ help in offering protection and anonymity. Similarly, another text provided

to Atlas asked why the pilot blocked his schedule and asked if he was “helping out,” insinuating

that the pilot was hiding his schedule from the Union so he could be a good performer without

harassment. And certain pilots who resigned have reported to Atlas in exit interviews that they

are leaving in response to pressure from the Union to slow down.

G.    The Union’s Slowdown Has Irreparably Harmed Atlas, Its Customers, And The Public.

       a.      The Union’s Campaign Has Irreparably Harmed Atlas.

       158.    The pilots’ dramatic changes in behavior directly translate into irreparable harm

in the form of operational disruptions that tarnish Atlas’ reputation in the marketplace and create

lost customer goodwill as well as significant financial costs for the Company. The primary

driver of this harm are operational delays caused by the cumulative effect of all of the pilots’

tactics, including increases in extended delays.




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                            i. Atlas Has Incurred Reputational Harm And Loss of Goodwill As A
                               Result Of The Pilots’ Changed Behavior.

       159.    Atlas has built its strong brand and reputation for high quality service over the

past 25 years, and its consistent and reliable operation has allowed it to obtain the business of

major customers like Amazon, DHL, FedEx, and UPS. Indeed, Atlas’ entire business is

dependent on its reputation for strong performance and reliability. And Atlas’ customers are

well-aware when their flights are subject to extended delays due to sick or fatigue calls, or even

those short, but highly prevalent “BOOT” delays.

       160.    For instance, Atlas offers a “visibility tool” to its customers so they can track their

aircraft. As a result, Atlas’ customers are able to see when their fully-loaded aircraft are sitting

on the tarmac for no reason due to the BOOT campaign, for example. As described in detail

above, customers expect and depend on Atlas flights to depart as soon as they are loaded and

ready, and themselves suffer from the lost benefits such prompt departures provide. Because its

customers are highly engaged, the deterioration in Atlas’ operational performance caused by the

Atlas pilots’ changed behavior has therefore translated directly into unhappy customers and lost

customer goodwill, thereby irreparably harming Atlas’ brand and reputation.

       161.    Atlas can suffer from such lost customer goodwill from several different

customers as the result of any single extended flight delay. This is because not only does a

significant extended delay result in missed customer deadlines for the delayed flight, the ripple

effects of a single extended delay can, and often do, last for days and negatively impact multiple

customers’ flights and cargo. For instance, most Atlas freight planes are configured with four or

more extra seats designated to carry other Atlas crew members who are deadheading to be on

location for their next scheduled duty period. A delayed deadhead flight often means that the

deadheading pilots will be late for their next scheduled duty period, causing each of their next



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scheduled flights to incur delays (and possibly require the use of replacement pilots) as well.

Similarly, a single extended delay can cause that flight’s crew or aircraft to be unable to get into

position for a subsequent flight for the same or a different customer, thereby causing a delay on

that next flight as well.

        162.    This ripple effect is seen not only as a result of extended delays, but also as a

result of pilot sick or fatigue calls themselves. As described above, a series of sick or fatigue

calls can result in the depletion of reserve or replacement pilot resources that can last for days,

and impact Atlas’ ability to properly staff subsequent flights that may legitimately need

replacement pilots. As a result, even flights that were not directly touched by a pilots’

illegitimate sick or fatigue call can suffer delays as a result of that very sick call.

        163.    This lost customer goodwill is difficult if not impossible to replace or to rectify

with monetary compensation and is demonstrated by the near-daily complaints that Atlas

receives from its myriad of customers regarding the decline in operational performance resulting

from pilots’ change in behavior. For example, on June 27, 2017, after “the 4th event this week

alone with another sick crew member,” a senior representative of one customer complained:

“This latest caper by crews will generate a lot of heat.” He was forwarding a complaint from a

senior representative of the customer that said, “Understand these things can happen, but have

never seen this with such a frequency on any other operator.” I have attached as Exhibit 84 a

true and correct copy of an email sent June 27, 2017 from a representative of a customer

representative to Atlas’ President and CEO, William Flynn, and Executive Vice President and

COO, John Dietrich.

        164.    On July 18, 2017, another representative of the customer complained to Atlas

after a crew member refused the planned catering and also the alternative options for catering




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causing the aircraft not to depart and forcing the customer to have to charter an aircraft at a cost

of $30,000. The complaint said: “Due to the cost this created for [the customer], jeopardy to the

[customer’s] (customers) and as this crew members actions are clearly not customer oriented and

appear on the surface to be without merit, I would respectfully request they be removed from any

future [customer] routes if possible.” Another senior representative of the customer copied on

the original July 18, 2017 complaint followed-up on the same day to highlight the $30,000

additional cost incurred by the customer and to complain about the occurrence of “two other

major crew issues.” He asked, “The issues with flight crews continue to increase, when is Atlas

planning to take the next steps in regards to flight crews?” I have attached as Exhibit 85 a true

and correct copy of an email sent July 18, 2017 from a senior representative of a customer to

Atlas’ Executive Vice President and COO, John Dietrich.

       165.    The very next day, on July 19, 2017, the same customer senior representative

again complained after multiple crews called in fatigued and sick for their flights: “This one is

getting real ugly!!!!! Any guess in regards to this crew situation?” And the very next day, on

July 20, 2017, as a result of multiple fatigue and sick calls and other crew-related issues, the

customer was forced to take multiple delays, which a senior representative of the customer

described as “painful.” The same customer senior representative followed up, stating “not a

good day for sure.” I have attached as Exhibit 86 a true and correct copy of an email sent July 19,

2017 from a customer senior representative to Robert Hyslop, Polar Senior Vice President and

COO; and as Exhibit 87 a true and correct copy of an email sent July 20, 2017 from a senior

representative of a customer to Atlas’ Executive Vice President and COO, John Dietrich.

       166.    On July 20, 2017, another customer complained about a crew calling in fatigued:

“I am genuinely concerned about the rate at which Atlas pilots call fatigue compared to all other




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[] air carriers [serving the customer]. On a flight-normalized basis, Atlas’ rate of fatigue calls is

more than four times higher than other carriers, combined . . . .” On July 26, 2017, the same

senior customer representative complained about a crew calling in sick, which would have

caused a four-hour delay and “missed package connections and missed customer promise.” The

customer opted to use another carrier “to satisfy customer promise.” She noted: “Atlas has the

highest number of fatigue calls (over 5x) versus non-Atlas operated flights.” I have attached as

Exhibit 88 a true and correct copy of an email sent July 20, 2017 from a senior representative of

a customer to representatives from Atlas’ System Operations―Kevin Sarubbe, Vice President,

and Robert Buda, Senior Director; and as Exhibit 89 a true and correct copy of an email sent July

26, 2017 from a senior representative of a customer to Atlas’ Executive Vice President and

COO, John Dietrich.

       167.    On August 3, 2017, Atlas received a complaint from a senior representative of

another customer about a fatigue call: “It certainly is difficult to understand let alone explain to

a customer why a Captain who has had 51 hours rest and a further 21+06 rest was suddenly

fatigued a short time before scheduled departure and I view the entire delay still with a great deal

of disbelief and a level of discomfort . . . . Any level of mitigation that can be put into place to

prevent a repeat situation would be greatly appreciated.” I have attached as Exhibit 90 a true and

correct copy of an email sent August 3, 2017 from a senior representative of a customer to Atlas’

Senior Vice President of Flight Operations, Jeff Carlson.

       168.    On August 9, 2017, a senior representative of another customer complained that

“we had one sick call and one Fatigue call this morning . . . which delayed [] flexibility . . . as we

had to wait for another crew from the Hotel.” The very next day, on August 10, 2017, the same

senior representative complained, “Another FSF [Full Service Failure], crew fatigue issue” after




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all of the freight on an aircraft missed the sort where it was to be distributed throughout the

customers’ network. I have attached as Exhibit 91 a true and correct copy of an email sent

August 9, 2017 from a senior representative of a customer to Atlas’ Vice President of Express

Operations, Jamie Handley; and as Exhibit 92 a true and correct copy of an email sent August

10, 2017 from a senior representative of a customer to John Dietrich, Atlas’ Executive Vice

President and COO, and Robert Hyslop, Polar Senior Vice President and COO.

       169.    As a result of the significant delay for another customer due to a fatigue call on

August 27, 2017, described above, a manager at the customer wrote, “The lack of customer focus

provided by this operating crew to the [customer] Freight operation is exasperating and more

than disappointing, particularly when our OTP [on time performance] has been challenged by

other ATLAS events in recent weeks. As a follow up we request that the following crew no

longer operate on the [customer] network in the future and be removed from any rotation in our

network as soon as possible.” Another customer manager complained:

       The delay below is extremely disappointing. The crew fatigue issue was hard for
       us to accept when we were already operating on a significant delay. To make
       matters worse we have a further 6 hour delay due to a crew wake up issue. We
       are now almost 40 hours behind schedule with no sign of recovery. Could you
       please as a matter of urgency look into a recovery option to minimi[ze] this delay.
       We really need to get back on schedule as quickly as possible so we can deliver
       the type of service our customers expect. As you can imagine there are many
       questions being asked here in relation to how this could have occurred and how
       we can get back on schedule.

I have attached as Exhibit 93 a true and correct copy of an email sent August 28, 2017 from a

manager of a customer to Atlas’ Senior Vice President of Flight Operations, Jeff Carlson, and

other Company representatives; and as Exhibit 94 a true and correct copy of an email sent

August 27, 2017 from another manager of a customer to Jeff Carlson and other Company

representatives.




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       170.    Days later on August 30, 2017, a senior representative of the customer

complained to Atlas’ Executive Vice President and Chief Commercial Officer. He wrote, “The

team has asked me to raise this directly with you as we’re quite concerned at the number of crew

fatigue delays over the last week. We’ve now had 3 separate crew fatigue delays in the last

week, resulting in one of our lines of flying now being delayed by 47 hours with no ability to

operate on time until mid-next week.” As a result, he stated, “[m]any of our customers have lost

confidence in our ability to deliver a consistent service.” I have attached as Exhibit 95 a true and

correct copy of an email sent August 30, 2017 from a senior representative of a customer to

Atlas’ Executive Vice President and COO, John Dietrich, Executive Vice President of Sales and

Chief Commercial Officer, Michael Steen, and other Company representatives.

       171.    On September 9, 2017, a vice president for a customer complained about a flight

delay due to fatigue call at wakeup that caused an aircraft full of express cargo to miss the daily

sort: “This is a real ugly delay, this is a FSF [Full Service Failure] for Sunday sort . . . .” I have

attached as Exhibit 96 a true and correct copy of an email sent September 9, 2017 from the vice

president of a customer to Atlas’ Executive Vice President and COO, John Dietrich, and Polar’s

Senior Vice President and COO, Robert Hyslop.

       172.    The risk of lost business is particularly high for Atlas with respect to the U.S.

military because of the structure of its contract. Atlas is committed to the Civil Reserve Air Fleet

(CRAF), a military program through which airlines contractually pledge aircraft for activation

when needed in times of war. In exchange, the government makes peacetime Department of

Defense airlift business available to Atlas and other airlines. But if Atlas performs below a

certain threshold, it could lose its entitlement to such peacetime work until its performance

improves, and that work is given to competitors.




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       b.      Atlas Has Incurred Financial Harm As A Result Of The Pilots’ Changed
               Behavior.

       173.    The Atlas pilots’ concerted change in behavior, and in particular, their increase in

same-day pilot sick and overall fatigue calls, has financially damaged Atlas. Each disruption and

delay imposes operational costs on Atlas.

       174.    Often, following a sick or fatigue call, a replacement pilot must be transported

from another location to the departure station. As a result of increased sick and fatigue calls,

Atlas’ costs for such transportation have increased. In many instances, Atlas is able to find a

commercial flight for a replacement pilot, and the volume of commercial flights amounts to a

tremendous cost for the Company that has only increased with the increased number of call outs.

But Atlas also may be forced to charter a plane to transport the pilot to the departure location, if a

commercial solution is not available. Any given charter flight can cost up to approximately

$25,000 or more just to transport one pilot. Chartering in pilots is of particular importance for

flights going to military zones. Atlas must abide by flying curfews in such zones, so if a pilot

calls out sick or fatigued, Atlas has to charter in a new pilot as soon as possible to avoid missing

the curfew. Since February 2016, Atlas has paid $123,000 to charter flights for pilots, which

compares to $0 the previous year. Of that, $98,000 was for chartering crews to position them for

military operation flying.

       175.    Furthermore, as a result of increased same-day sick and overall fatigue calls,

coupled with a decrease in the number of pilots accepting open time flying, Atlas’ operations

have not only declined due to resulting delays, but in an effort to prevent a decline, the Company

increased hiring in anticipation of the 2016 peak season (October-December) at a significant cost

to Atlas. Historically, Atlas plans to staff to accommodate non-peak scheduled flying with the

ability to “flex” up by up to 3% and relies on overtime during peak season to cover the additional



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peak flying. In 2016, in order to mitigate the adverse effect of the pilot slowdown and resultant

inability to use overtime, rather than to flex up to 3%, Atlas increased its staffing by

approximately 6.9% in an attempt to protect the operation. Specifically, in 2016, Atlas hired and

trained an additional 60 first officers and upgraded 25 first officers to the captain position. The

salaries, wages, and benefits of these pilots alone, taking into account the corresponding decrease

resulting from attrition, cost Atlas over $1.5 million in 2016, and cost Atlas over $1 million

through June 2017. In addition, Atlas spent hundreds of thousands of dollars on recruiting,

training, and traveling costs for these new hires and upgrades.

       176.    The pilot slowdown also harms Atlas financially because the Company has had to

compensate its customers for the decline in operations. Many of the Company’s contracts with

its customers require that Atlas perform at a certain level and pay a financial penalty if it fails to

do so. These contracts also often include provisions that require customers to make bonus

payments to Atlas if the Company performs better than required.

       177.    Pursuant to Atlas’ contracts with one of its major customers, prior to the recent

change in pilot behavior, Atlas was entitled to an incentive payment in most months, but since

the pilot campaign started, Atlas has either been forced to pay a penalty or performed at the

minimum standards required by the contract, resulting in lost incentive payments for the

Company. Based on Atlas’ performance for one aircraft type for this customer, in the 476-day

period between February 29, 2016 and June 18, 2017, there was an approximately 107.1% net

decrease in incentive payments in contrast to the prior 476-day period between November 10,

2014 and February 28, 2016. (For the 28 days from November 10, 2014 through December 7,

2014, the incentive/penalty structure was inapplicable.) Likewise, in the 504-day period between

February 15, 2016 and July 2, 2017, there was an approximately 87.5% net decrease in incentive




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payments in contrast to the prior 504-day period between September 29, 2014 and February 14,

2016. Similarly, the penalty payments made by Atlas to another customer for a particular type of

flying has also increased significantly. Specifically, from February to December 2016, Atlas

paid 72.8% more in penalties than during the same time period in 2015.

       178.    As a result of poor performance, Atlas also has been compelled to make goodwill

payments to certain customers. For example, in March 2017, Atlas made a significant goodwill

payment to one customer, after a series of crew related delays. One such flight was a “live stock

charter” in which the animals that were on the aircraft had to be put back into quarantine at the

customer’s cost.

       c.      The Union’s Campaign Has Harmed Atlas’ Customers.

              i.       The United States Military

       179.    Atlas is the largest carrier of cargo and passengers for the U.S. military. Delays

of Atlas’ flights for the military can be disruptive to military operations, and as a result, the

pilots, at the direction of the Union, are intentionally disrupting such flights to inflict maximum

harm. Pilot actions have prevented service members from coming home to their families on time

and have also delayed flights carrying troops and urgently-needed medical supplies and other

critical provisions into the battlefields. These actions are detrimental to the missions of the U.S.

military and place the lives of our troops at risk. For example, as described in part above, in

April 2017, crew actions (including multiple fatigue calls and maintenance write-ups) caused an

aircraft flying approximately 120 service members home to their families in the United States to

experience three consecutive delays of over 60 hours on each leg of a trip from Kuwait to

Germany to New Hampshire to Texas.




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       180.   The impact on the service members and their families of this incident can only be

described by the families themselves. Atlas received dozens of written complaints from families,

a number of which are reproduced below.

       My husband is a Blackhawk helicopter Pilot with the South Carolina Air National
       Guard. His unit has been deployed in the Middle East for             and “should” be
       home with our        young children as I write this. However, due to the internal
       politics of Atlas Airlines, he, along with 120 SC Guardsmen and women are
       currently stranded in Portsmouth, NH. Before that, they were previously
       “stranded” in Germany for 36 hours as well. Apparently the Atlas Airline pilots
       were holding an “unofficial” strike, and continue to do so at each airport, forcing
       the service men and women to camp out for several days at a time in the
       terminals. They have been sleeping on the floor and cots and should be on their
       way home from a        month deployment in the Middle East to their families and
       children, not stuck in an airport terminal for days on end without proper food,
       clothing and supplies. Is this any way to treat our country’s finest?

       The men/women are on government orders and therefore, cannot simply purchase
       another ticket home. They are at the mercy of the contracted airline, your airline,
       an airline that has failed them for the last 5 days of their journey home. Some of
       these service man are coming home to children they have yet to meet. The flight
       attendants have been wonderful through this process, providing them with some
       food (donuts and coffee) and toiletries, however there is no excuse for the Atlas
       pilots behavior, especially to the service men and women defending their very
       liberties.

       Each time the unit has asked why the plane could not complete the journey, they
       were informed that there was an “issue” with the airplane. The Atlas pilots were
       unaware that the service men and women they are transporting are pilots and
       mechanics, as well. All of the excuses are false. The Atlas pilots are holding a soft
       strike and the South Carolina Guardsmen and women are caught in their game.
       Unacceptable and disgraceful.

                                               ***

       Our SC guardsmen (A Company; 1st of the 111th Aviation Brigade; South
       Carolina Air National Guard, Fort McEntire, SC) returning home are currently
       covered by a charter contract with Atlas Airlines. These guardsmen, who were
       deployed to the Middle East for              , left Kuwait for home in the US on
                            nd
       Saturday, April 22 and were scheduled to arrive in Fort Hood, TX on Sunday,
       April 23. However, as I write this on Monday, May 1st, due to internal politics
       (what we understand to be a "soft pilot strike") at Atlas Airlines, 85 of our SC Air
       National Guardsmen are STILL stranded in Texas, awaiting word of when they
       will be allotted a return flight home to their families. These men and women have
       spent days delayed including many days in the airports, sleeping on cots, without


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live up to this contract, including putting our troops first, then I see a problem. I
believe your company failed - you won the contract, recognized the revenue, but
failed at the main goal - successfully moving our troops. This failure needs to be
addressed so that our military never again experiences a feeling of being
forgotten. The 4 days you refer to below may seem like nothing to you or me, but
another 4 days to our military feels like a lifetime when they have been deployed
to the Middle East in a high risk, combat zone. I will say it again, this is
inexcusable and an Atlas Air failure. We are moving forward with our
congressmen and State Senators. The Atlas Air contract needs to be reviewed.

                                        ***

I do not have an opportunity to call you as I am currently between working full
time and shuffling kids various places alone because my husband is deployed with
the US Army. He has been in Kuwait, away from us for the past months. My
kids and I have been so excited to see him. We have been checking off the days
for his return, which is now being held up by Atlas Air. This day could be listed
as one of the most emotionally draining since his leave. We have waited
anxiously and with worry about their overall safety, and for details on their arrival
to the states. I am so disappointed that an airline would make my husband, who
has just served our country away from his children for so long, feel worthless and
unimportant. I am disappointed that there have not been more positive actions
taken to resolve this issue. I understand you do not have control over your
employees, but if your employees are treated like my husband has been today I
might not want to show up to work either. Please hear me in saying I do not mean
this email to be a personal issue with you, but I’m hoping it will be read & relayed
to the appropriate party and resolved for the next group of soldiers who are weary
and ready to be home to their families.

                                        ***

You are an AMERICAN Contractor and it is your duty to get OUR American
SOLIDERS home safely and ONTIME. This is absolutely absurd they defend
OUR COUNTRY and YOUR FREEDOM in overseas wars or missions and your
duty is to get them home in a timely manner. AND YOU DID NOT DO THAT
these past 5 DAYS!!!!!!!! What was supposed to be a day and half of travel now
has turned into a week.

My husband and his unit have been held over many days overseas and now
stateside and trying to get home to their families after being gone for
       !!!

These soldiers give up a lot including their spouses, children, and families. They
give up every birthday, anniversaries, and HOLIDAYS so you can have your
everyday FREEDOMS. And you do not have the decency to ensure you have
proper aircraft to carry OUR AMERCIAN SOLIDER back home to their families
nor do you have the staff that is not willing to set aside their differences (union



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       negations) and call in sick to make sure OUR AMERICAN SOLIDERS CAN
       GET HOME TO THEIR FAMILIES IN A TIMELY MANNER!!!!!

       I have called and left many messages with no return phone calls –NOT very good
       customer service!!!! And many of the wives have called and still no responses
       back to them either.

       We are already in contact with DOD about your current contract. We (the wives)
       have started contracting all the news stations about your poor services and lack of
       customer service.

I have attached as Exhibit 97 a compilation of true and correct copies of emails sent in April and

May 2017 to Company representatives from family members of U.S. military service members

returning from Kuwait who experienced multiple delays.

       181.    Such a delay not only causes profound emotional suffering to families, as evident

from their messages, but also impacts them financially because they travel to meet their returning

service members. As a result of this incident, the families of these service members complained

to Congress about Atlas’ contract with the military. As a small gesture of its regrets about this

shameful situation, Atlas offered each service member $500 and paid any out of pocket expenses

incurred by the service members as a result of the delay.

                          ii. Atlas’ Other Customers

       182.    More than two thirds of Atlas’ aircraft serve the Company’s express and e-

commerce customers, and these customers are in the business of providing reliable, express

delivery services to their own customers. The decline in Atlas’ performance has also damaged

the operations of its customers, thereby harming their brands and reputations as well—as

evidenced by the customer complaints detailed above.

       183.    Furthermore, because customers like DHL have commitments to deliver packages

to their customers on time, they have been forced by crew delays to hire another cargo carrier




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(one of Atlas’ competitors), at their own expense of tens of thousands of dollars each time, in

order to obtain an aircraft and a crew to move their packages.

       184.    The change in pilot behavior and resulting lengthy delays has also negatively

impacted the operating flexibility of Atlas and its customers. For example, when an aircraft

carrying freight is delayed such that it does not make the package sort at the customer’s

distribution center in a timely fashion, the freight will be delayed a full day until the next sort.

Thus, even a short delay can cause a full service failure on the part of Atlas’ customers, which

then impacts thousands of customers on the back end, and the magnitude of this operational

disruption is compounded with each aircraft that is delayed by the pilots. For example, a B-747

aircraft carries between 80 and 100 tons of express parcel, and thus tens of thousands of

customers are impacted when an aircraft misses the sort.

       d.      The Union’s Campaign Has Harmed The Public.

       185.    Atlas transports many time-sensitive items, including medications,

pharmaceutical and medical supplies, lab shipments, human organs, emergency equipment, legal

documents, and items necessary for scheduled events, such as conferences, weddings, and

funerals. Customers use, and pay a premium price for, express carriers because they need quick

service often on an urgent basis, and when items arrive late there can be significant

consequences. Potentially hundreds of thousands of these end-use customers—members of the

general public—have been damaged by the pilots’ slowdown behavior because, unlike at a

passenger carrier, the delay from even a single strategically-placed sick or fatigue call can impact

a substantial portion of Atlas’ network and thousands of end-customers who rely on express

shipments—and not just the several hundred passengers whose flight is delayed or who need to

be re-routed when a pilot calls out on a passenger carrier..




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       186.    In addition, the harm to the U.S. military caused by the pilot slowdown equates to

harm to the public by placing our national interests and security at risk. Pilot actions have

caused our troops to arrive late to battle and without the critical supplies they need, putting their

lives and missions in jeopardy. Furthermore, unnecessary delays in returning our troops home to

their families, particularly after lengthy tours in the Middle East and throughout the world, is a

catastrophe that is inconsistent with our nation’s goal of supporting those who serve our country.

H.    Atlas Has Attempted To Resolve This Dispute Without Judicial Intervention.

       187.    Atlas has attempted to convince the Union to stop their slowdown campaign and

abide by their statutory obligations. For instance, during the December 2016 sickout, Atlas sent

a letter on December 19, 2016 to the Union informing it that the pilots’ increased use of sick

leave and the refusal of crew members to volunteer for and accept open time flying in the

ordinary course were a violation of the RLA and requesting that they take immediate actions to

stop the slowdown. In response, the Union sent a letter, dated December 21, 2016, denying that

they were engaged in an illegal slowdown, accusing Atlas of “posturing, bombast and bluster,”

and failing to provide any assurances that the Union would take any action to stop the pilot

slowdown. Instead, in their letter, the Union continued to perpetuate the untrue allegation that

Atlas has a problem with “attrition, scheduling, and staffing . . . .” (December 19, 2016 Letter &

December 21, 2016 Letter, supra Paragraph 86.)

       188.    I was made aware that on at least two occasions during the summer of 2017, John

Dietrich, Atlas’ Chief Operating Officer, communicated to Captain David Bourne, Director of

the IBT Airline Division, that pilots were intentionally delaying military flights and requested

that the Union take action to stop such improper actions. Captain Bourne asked that Atlas

provide him with examples of such crew actions. On June 9, 2017, I sent a compilation of sick

and fatigue calls that affected military missions since the end of May 2017 to Mr. Dietrich, who


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sent them to Captain Bourne on the same date. I have attached as Exhibit 98 a true and correct

copy of the June 9, 2017 email from Mr. Dietrich to Captain Bourne.

       189.    In addition, in June 2017, in the Protocol Agreement, the parties agreed to

“conduct all negotiations based on mutual respect and trust.” Atlas specifically requested this

provision, and conveyed to the Union that it must be included in the Protocol Agreement because

the Atlas pilots’ concerted activities were unacceptable and the Union had an obligation to return

the operations to the status quo.



       I declare under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.

       Executed this 25th day of September, 2017 at Purchase, New York.




                                             ___________________________
                                             Jeffrey Carlson




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